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                                                          TH E
                              UNITED STATES DISTRICT CO URT
                                                        FOR THE
                             SOU TH ERN DISTRICT O F FLO RIDA                                                     : j
                                                     M ianziD ivision
                                                                                           FILED BY                     D.C.

  Lam ontCollins                                                                                   FEs 1 2221
                                                                   Case N um ber:
                  Plaintiff                                                                        ct
                                                                                                    h
                                                                                                   s.
                                                                                                     lanhsllîlte.r
                                                                                                              .

                                                                                                     n.o:FLk.-MIAM!


  City ofM iam i''City'''
                        7O fficerK enneth Lew isl;O fticerW andlerPhilippel,
                                                                           'D oubletree G rand
  H otelLQD TGH D'

                  Defendantts)
                                                    C O M PLA IN TZ
  ThisCasecomesbefbreThisCourtafterbeingdismissedwithoutprejudicefor'failuretostatea
                          claim'(1:20-cv-23589-GAYLES).

         N O W CO M E S The PlaintiffLam ontCollins,ipro Se',and B R IN G S N OW these
         C onstitutionalV iolations againstThe City ofM iam iûûcity'''
                                                                     7M iam iPolice D epartm ent
         O fticersK enneth Lewisand W andlerPhilippe,and,Doubletree Grand Hotel'CD TGH D'.

                                                  H ereafter:
         -ûtU .S.C 147'im pliesU nited States Constitution A m endm ent 14.
         -ttlnternalAffairs''im pliesM iam iPolice D epartm entlnternalAft-airs.
         -'IDTGH ''im pliesDoubleTreeGrand Hotel.
         -
             tdpeaceOtlscertsl''willimplyLaw EntbrcementandCorrectionalOfficers.
                                      JURTSDICTION AND VENIJE

                   Plaintiffbringshisactionunder42 U.S.C.j1983,
                                                              .Fourth,Foul-teenth
                   Amendments,and42U.S.C.i'1985(3)ofTheUnited StatesConstitution, '
                   ThisCoul-thasJurisdiction purstlanttothefollowing statutes'
                                                                             .
                   -
                       28U.S.C.k-1331whichgivesdistrictcourtsoriginaljurisdictionover
                   civilactionsarising undertlzeConstitutionnlaw sortreatiesofTheUnited
                   States.
                   -
                       28U.S.C.jl343(3)whichgivesDistrictCourtts)jurisdictionover
                   actionsto securecivilrightsextended by TheUnited Statesgovernment.
                   VenueisappropriateinThisJudicialDistrid under28LJ.S.C.j'1391becausethe
                   eventsthatgave rise to This Com plaintoccurred in ThisD istrict.

                  l'TheseDefendantsoperatingullderTheAuthorityofT'heColorofLaw aresuedintheirOllieialandIndividualCapacities
                  tlnder42LJ.S.C.:l983.
                  zclainlsaresorelated,thatDefendantsmustreadThisComplaintinitsentiretyrand-NIUST fullyincorporalea11Ibotnotes
                  lwrein,andmakethem apal4thereof.
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               VenueisappropriateinthisJudicialDistrictunder28U.S.C.j 1391becausethe
               events thatgave rise to thisCom plaintoccurred in thisdistrict.


                                                      PA RT IES

               The Parties

               Lam ontCollins
               1545 N orthw est7t11Avenue
               M iami,M iami-Dade County
               Florida.33136
               Deshawn Collins@ yahoo.com
               Plaintiff isa Citizen ofThe United Statesand resided in The County ofM iam i-
               D ade.State ofFlorida,w' hich is in This JudicialD istrictduring the eventsofThis
               Complaint.

               TheDefendantts)
               D efendant City ofM iam i'City'
               3500 Pan Am erican Drive
               M iam i,N'
                        Iiam i-Dade County
               Florida,33 l33
               (305)250-5300
               Defendant City of M iam iisa M unicipalCorporation-and PoliticalSubdivision of
               The State ofFlorida and isbeing stled tbrfailure to train/supervise em ployees
               leading to violation ofPlaintit-
                                              fs ConstitutionalRights underThe Fourth and
               Fourteenth Am endm ents ofThe United StatesConstitution and rem edied by 42
               United StatesCodejl983.Det-endant-city'alsosuedforun-constitutional
               Patteraf ustom ofD elscientPolice InternalAffairs lnvestigations,leading to
               validated casualviolation ofPlaintif-fs(Citizensl)Rights.Plaintil-
                                                                                fseeksdamages.
        and;
               Defendantts):OfficerW andlerPhilippe AND OftscerKenneth Lewis
               M iam iPoll)ce Departm entO fw
                                            ficers
               400 N 'W Second A venue
               M iam i,M iam i-D ade County
               Florida,33 l28
               (305)603-6640
               MiamiPoliceDepartmentisanagencyofTheCityofMiami.Defendantts)
               Kenneth Lew is and W andler Philippe are being sued in theirO t-ticialCapacities
               under42 U.S.C S 19832forThe FalseArrestofThePlaintiff resulting from their
               lack ofsupervision.


                  :Thisv-reatesanissutofGreatPublieConcem .
                  ;42 L7.S.C.1983 providesrelieftbrCitizenswho-sConstitutionalRightshave been violated by person aeting underThe
                  Authority ofTheColorofl-aw.
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                       Thesedefendantls)arealsobeing suedin theirlndividualCapacitiestbr
                       knowingly violating The Fotlrth AmendmentRightofThisPlaintiffto be free
                       from unreasonable seizure ofhisperson'.
                       And.sued in theirlndividualCapacity forviolating TheFourteenth Amendment
                       RightsofThe Plaintif-fto Due Process oflwaw and EqualProtection ofThe Law .
                       And,sued in theirlndividualCapacity forConspiracy in violation of42 LT.S.C,
                        %1985(3).lna1leventsatbarDefendantsKennethLewisandW andlerPhilippe
                        s
                       have acted with TheAuthority ofTheColorofLawvand,Defkndantsacted in full
                       M iamiPoliceDepartmentUniform (underthecoloroflaw)duringa11relevant
                       partsofThis Com plaint.Plaintit-fseeks Com pensatol'y and Punitive D am ages.
            and;
                       Def-
                          endantDoubletree Grand Hotel(DTGH)
                       1717 N orth Bayshore D rive
                       Nliam i-M iam i-D ade County
                       Florida,33l32
                       (305)372-0313
  DefendantD oubletree Grand Hotelisbeing sued fornegligentconductleading to the violation of
  PlaintiffsConstitutionalRightso
                                'and sued forConspiracyunder42 U.S.C.S1985(34:and 42
  U.S.C.j1983(infra!64b).ArticleIlIofTheUnited StatesConstitution 28U.S.C.j1367gives
  ThisCourtSupplem entalJurisdiction ofal1claim s atbar including CivilAction for State
  Negligence tort.Plaintiff seeks Com pensatory and Punitive D am ages.


                                                   ALLEG A TIO N ofN O TIC E
            Pursuantto FloridaStatute768.28(7)whichreads'
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                                                                                            ?to /J/èwt.
                                                                                                      /thereto'.

            The Plaintiff-has presented This Claim in w riting to The H ead of-
                                                                              fhe City ofkliam i,
            M ayorFrancisSuarezat.
                                 'fsuarez@ miamigov.com and,
            CityofMiamiAttorneyVictoriaMendezlaw@tmiamigov.com
                                                 CO M PLA IN TZ:
  6.         The Plaintiffw hile walking to dinner encountered a heavily occupied side-w alk in front
  ofTheDoubleTreeGrandHotel(DTGH)Iocatedatl7l7NorthBayshoreDriveinM iami,
  Florida on oraboutFebruary 13,2018,atoraround 4'
                                                 .30pm .ThePlaintifrdecided to avoid the
  crowded sidewalk by using The Hoteldriveway which isparallelto said side walk (EXH IBIT
  41:Security CameraPlaintiffsApproachat16.
                                          .44:24).Upon entering thedrive-wayThePlaintiff
  noticed a fem ale:standing som e twenty yards in frontofhim to his left.The Plaintiffm oved to
  hisrightto avoid The Fem ale (EXHIBIT 41:Seculity Camera PlaintiffsApproach at 16:44:28-
  35).AsThePlaintiffmadehiswaytopassTheFemale,TheFemalelooked atThePlaintiffand
  proceededtowalkdirectlyintohim (EXHIBIT 4l'       .SecurityCameraPlaintiffsApproachat
  l6:44.'33).ThePlaintit'
                        faddressed The Femaleand began to walk away (EXHIBIT 4l:Security
  CameraPlaintit-fsApproach at16,  .44'
                                      .36-40).AsThePlaintiffbegan walking awayThe Fem ale
  shoved The Plaintiff.and began ranting explicitly whileapproaching The Plaintit'r(EXH IBIT 4l
   Seçuritv Cam era Plaintiffs Approaçh at 16L4-4.
                                                 .4Qn+t).The Femalethen,satherbaq down.and
                                                                -

       lDefenclants Philippe and Lewisknowingly arrested ThePlaintif-fun-constitutionally using The Authority ofTheColor ofI.aaw.
       2.AI
          lf-
            ootnotesinThisComplaint(notrestrictedtoany sedion)aretobereadwiththesentence-fullyineomoratedtherein-andl
                                                                                                                    nadea
       partthereet-.
       lLateridentilied asSandraBem ardi-lmd referred toas ''I'he Female'throughoutThisComplaint.
       :1Here -swatting-expresses'l'he Female striking 'l'he Plaintitqfaround hiswristarea.ln said EXHIBI'I'you can see 'l'he Plaintit'f
       deileetinathese attem ptsto 'swat-athim .
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  aggressively pursued ThePlaintiff swattingttathislowerarmsasThePlaintit-
                                                                         fpassively
  defended himself(EXHIB IT 41:Security Cam era PlaintiffsApproachat 16:44:41-51)1.W hile
  defending him self from The Fem ales advancing attack an unknow n M alez,
  identified byDefkndantCityofM iamiPoliceOtNcersasGhislainFourquelerz(EXHIBIT l0:
  lnter-officeM emorandum 9-10-18)0camerunninghostilityoutOt-DTGH toassistTheFemale
  inattack-ingThePlaintiff(EXHBIT 4l:Security CameraPlaintiffsApproachat16:44:49).
  Realizing The M ale w as aboutto com m itbattery upon him ,The Plaintit-ftlied to retrieve his
  M ossy OakFishing Knife tkom hissatchel,in an attemptto deterTheM ale.The Plaintiffunable
  to successtklllywithdraw TheFishingKnitk retreatedtïom theimpendingbattery(EXHIBIT 4l:
   Security Camera PlaintiffsApproach at16:44:55).ThePlaintiffretreated acrossthestreetasThe
  M alegavechase.OnceThePlaintiffsuccessfully withdrew hisFishing knitk ti'    om hissatchel,
  The M ale responded by elim inating hispursuitofThe Plaintiff-and re-entering D TGH
  (EXH-IBIT 51:HotelEntrance Surveillance Video at 16:45:30).ThePlaintiffbegan to walk away
  from DTGH northnwhenTheMaleranoutofDTGH (EXHIBIT 51:HotelEntranceSurveillance
  Video at16:45:45-49)passing DTGH Security/staffforthe second timewithoutinterruption,
  thistime with whatappearedto bebottlesand drinking glassesin each hand (EX-HIBIT 51:Hotel
  Entrance Surveillance Video at 16:45:
                                      47 and 16:45:48).DTGH security staffmade no attemptto
  deterThe Nzlale asThe M ale em ptied the contents ofthe glasseson the ground in frontofthem
  and ran afterThe Plaintiff(EXHIBIT 51:HotelEntrance Surveillance Video at16:45:50)
  throw ing the contentsofeach hand atThe Plaintiff,as The Plaintiff dodged the glasses and
  bottles.ThePlaintiffwithdrew'hisfishing knife again,and wasable to create enough distance
  from TheM aletocontinuewalkingaway north(EXHIBIT 6l:SideCameraat16:46:08-27).
   7.          The M ale follow ed ThePlaintiffnorth aw ay from D TG H running directly atThe Plaintiff
  (plaintiffEXHIBIT 61:SideCamera16:46:28),startlingThePlaintiftlcausingThePlaintit-
                                                                                   fto
  drop hiscellularphone,The M ale picked up The Plaintiffs cellularphone,sm ashed itinto the
  groundpThe Plaintiffagain retrieved his fishing knife asa deterrentto The M ale,and again The
  M aleretreated intoDTGH,pastDTGH Security/staftlintoDTGH (EXTIIBIT 51:Hotel
  Entrance SurveillanceVideo at 16:47:59).ThePlaintiffpicked up hisnow shattered cellular
  phone and realized ithad becomeinoperable.ThePlaintiffbecameinstantly determ ined to make
  sure The M ale w asheld responsible forthe dam age to hiscellular phone.The Plaintit-freturned
  to D TGH and spoke w ith a man he noticed w asw atching during the entire encounter3.The m an
   identified himselfasaDTGH SecurityM ember,and suggestedThePlaintifr'
                                                                      justleave'because
  The M ale and Fem ale had IeftDTG H .The Plaintift-asked thisD TG H Seculity M emberto call
  Law Enforcem entbecause The Plaintiffknew The M ale and Fem ale had retreated inside D TG H ,
  andPlaintiffm adeitclearthathe wouldnotleavew ithoutholding TheM aleresponsiblefor
  breaking hiscellularphone.TheDTGH Security M emberalerted ThePlaintit-f,thatLaw
  Enforcem enthad been called by his staff'som e tim e ago'.

   8.     ThePlaintiffand thisDTGH Security M emberwaittd togetherover20 minutesfor
   M iamiLaw Enfbrcementto anive.During thistime-TheM aleand Femaleassailantshad not
   been seen since The M ale walked back into D TG H,pastD TG H Security/staffw ithout
   interruption(EXHIBIT 51:HotelEntranceSurveillanceVideo at16..47:59).W hilewaiting for
   Law Enforcementto arrive.ThePlaintiffsatten (10)yardsfrom TheM ain Entranc.
                                                                             e,and had
   casualconversation w ith said D TGH Security'M em beraboutThe Plaintiffs cellularphone.
   DTGH Security/staffdidn'tmake any attemptto locateorquestion The M ale,Fem ale
     l''
       fhePlaintiffremainedconscious-asnottoappearphysicallythreateningtoTheFemale.
     zcity ofbNliamiPoliceDepartmentlnternalctflhirsidentiliedTheNlaleasGhisl    airtFourqueler(plaintiffEXHIBIT 10)aforeignnationale
     however-n ePlaintit-fthrough courtreeordseorrectlyidentitied-'T'heNlale'asGhislain Fourquier-aresidentofNliami-DadeCountywithJm
     arrestrecordforAssault.andrefen'edtoas-'I'he5.lale-throughoutThisComplaint.
     3n 1:mancanbeidentifiedinP1ainti1T(EXHIBIT 5l:HotelEntranceSunr        eillanceVideoat16:44:02).Heisawhitemalewithawhitelong
     sleevebutton down shirtand dark pants.Thisman isseen walking up thethreestepsin thisENHIBIT at l6:44:24 andappearstohave
     c.'xm xwt.;..x...;.a k;e...;.
                                 w.
                                  1w+ kanl.....x.
                                                x1.x+ ''r'L:o .v..
                                                                 w1x;....xrx...-x.4+..x....-1-N'rz-ll'.T c w.....2+..%.fx....w1..x..*FL.x....t. .x..:'T*.:..f'
                                                                                                                                                             A.x..w.....1..:- +
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  Assailants,norquestion The Plaintit-
                                     fduringthistime.

  9.      M iam iLaw Enforcem entarrived and The Plaintiff m ade tirstcontad w ith Defendant
  O tlscerW andlerPhilippe,and explained the events thatnecessitated the presence ofLaw
  Enforcement(describedsupra@ !6-8).ThePlaintiffmadecleartoDefendantPhilippethathe
  wanted to makea policereportconcerning hisshattered cellularphone.Det-   endantPhilippe
  asked The Plaintit-
                    fto w aitw hile he spoke with The D TGH Seculity M em berw ho w asw aiting
  with ThePlaintit-
                  f.They spoke outofthehearing ofThePlaintiff DetkndantPhilippereturned to
  ThePlaintiffandsaidTheMaleand Femalehad left,soThePlaintiffshould'justleave',
  repeatinjexactlywhatTheDTGH SecurityMembertoldThePlaintiffbetbreCityofMiami
  Law'Entorcementanived(mt
                         pra ! 7).ThePlaintiffrefusingtoleavewithoutapolicereport
  concerning hiscellularphone explained thathe saw The Nfale who broke his phone retreat past
  DTGH Security/staffinto DTGH (plaintiffEXTIIBIT 51:HotelEntrance Surveillance Video at
  16:47:59),andinsistedTheMalebelocated.andapolicereyortbemade.Atsomepointafter
  this,O fficer Philippe searched Plaintit-
                                          fsbag and procured h1s fishing knife.Plaintiffexplained
  thathe had used the knife to deterThe M ale.At,oraround thistim e,another O fticerofM iam i
  Law Enforcementarrived(DefendantKennethLewis).TheFirstOflscer(DetkndantPhillippe)
  spokewith The Second Om cer(DefendantLewis)outsideofhearing ofThePlaintift) returned
  to ThePlaintift)handcuffed ThePlaintift-despite Plaintiffsprotestto being handcuffed.putThe
  Plaintiff-intotheback ofhismarked City PatrolVehicle,which ThePlaintiffalso protested,The
  Offcersthen wentinto DTGH w'ith TheDTGH Security M ember,tbund TheM aleand Female,
  returned aherabout20 m inutes.One ofThe Law Entbrcem entoftscers alected The plaintiffof '
  surveillancevideo',andthatThePlaintiffwould bearrestedforassaultwith adeadly weapon.

   l0. AfterThePlaintiffwasreleasedfrom jail:and allarresting chargesdismissed,The
  Plaintifffiled a com plaintagainstthe arresting O ftscers D efendantNvandler Philippe and
  DefendantKenneth LewisatDefendantCity ofM iamiPoliceDepartmentInternalAffairs
  (EXHIBIT 04:lnternalAffairsSectionIntakeForml.ThePlaintifft5ledarecordedcomplaint
  (plaintiffEXHIBIT 45:IA StatementofComplainantLC)regardinghisfalsearrest,fabrication
  ofTheArrestAtxdavit(plaintiffEXHIBIT 03:An-estAtx davit),andthefailtlreofDefendant
  Lew isto generate a Police Reportconcerning his cellularphone w hich w as broken by The M ale
  (GhislainFourqueler)whocanbeseeninsurveillancevideoconsistentlyattackingThePlaintiff,
  City ofM iam iPolice Departm entlnternalAf- fairsignored The Plaintit-fs com plaintofFalse
  Arrestand fabrication ofThe A rrest Aftidavit,and focused itsentire lnvestigation on The
  Plaintiffscellphonewith ineptprecision (plaintif'
                                                  fEXHIBIT 10:Inter-ofriceM emorandum 9-10-
  11.
    ).
  . ..
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  STA TEM EN T O F M A TER IA L ISStJES O F FA C T;causine.TH IS A C TIO N for
  DA M A G E S;as R ELA TED TO O FFICER W A ND LER PH ILIPPE and O FFIC ER
  K EN NETH LEW IS in their :om cialcapacities'for Defendantec itv'reeklessdisrezard to
  supervise said O m cers.Ieadine to PlaintiFs denialof Libertv.IlleealDetainm ent.and False
  Arrest(Fourth Am endment)rem edied bv 42 U.S.C.41983.PlaintiffseeksM onetarv
  Damaaesforhislniuries.

  ll. Defendanttcity'PoliceOfticerKennethLewis,alertedthedetained(infra!94)Plaintiff
  ofhisarrestafterreferringtotsurveillancevideo'(supra!9).Thisisurveillancevideo'(infra
  !39)apparently obtained from -thelobby'isalso m entioned inplaintiffEXHIBIT 03,which is
  OfxcerKenneth Lewis'ssworn arrestatxdavit.Thematerialnatureofthisûsurveillance video-
  w asused m aliciously forprobable cause to arrestPlaintiff -.4 liburth xz
                                                                          l???tv?lzz?t?r//violation cJ/?
  bec,ç/tO/j.
            W?EW Lfaf-k/e
                        'zv/tw?/ealt.
                                    $W::w thatt?#ibcer-sactedjz/:7recklessJ/çre>rtzrl kbithtzhigh
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           ftnvareness(#'therrta>tz/l/ëfalsity t#'-
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                                                   /t#e?z?e??/-
                                                              çcolltainedïz?arrestwtzrrtaz?/
  appltcation'-(ForestvPaw-tucket377F.3d53).PlaintiffEXHIBIT 41:SecurityCameraPlaintiff
  Approach at 16:44:35 show sthe initialcontactbetw een The Plaintiffand The Fem ale.The
  Plaintift-insiststhatthisvideo'should have been used to resolve contlictsofstatem entsobtained
  by D etkndants Lew isand Philippea.PlaintiffExldlB l'
                                                      l-4 l show s The Plaintift-address The
  Femaleaftershe looksdirectly athim and proceedsto walk directly into hispath (EXTIIBIT 41:
  at 16:44:36).ThisEXHIBIT 41show sTheFemalethen shoveThePlaintift)asThe Plaintiff
  attemptsto walk away (EXHIBIT 4latl6:44:39).ThisEXH IBIT 41pshowsThePlaintiff
  backing aw ay from The Fem ale,and The Fem ale continuing to approach The Plaintifr
  aggressively(EXHIBIT 41:at16:44:41).TheFemalethensatherbagdownandaggressively
  pursued The Plaintift-.The s4ale cam e running hostilely atThe Plaintiff,kicking offhisshoes
  preparinganattackuponThePlaintiff(EXHIBIT 41:at16:44:49).Thismaterialevidence
  (plaintiffEXIHIBIT 4l)contradictsthe statementswritten in DefendantLewis'ssworn Arrest
  Aflsdavit(plaintit-fExN lBl-      f 03:ArrestAffidavit).D epartmentalOrder11.Chapter8.3,states,
  -ltis//?E?rebponsibilityt?/tW/(dhcersw'          ht?respotldto/?t?/jc' crelated j?/cïlf  ???/.
                                                                                               î'/t?obtaintz//
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  thatlhese rtwor/x are /?/r?'  ?E!t/j/?/f?hisIw rustv'    pcl/l//brreb, iebvatthet?>?t)
                                                                             -           /t-fhishe'z'/6??fr(fdulv.-
  Defendanttcity-PoliceOflicerKennethLewiswroteinhisswornarrestaffdavit,Ldqjèndatlt
  Atdctwpevccvagsn-essive,//x!z?hepltlle6l?f/Jhisshirtt()elrtzs'           t
                                                                           .,
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  andt. #/è??JzJ?'
                 ?/stated //3J/heu/tw:goillg /f,       )killher'.Defendant'City'PoliceOm cerKenneth
  Lew is should have im m ediately known these statem ents w ere false afterhe procured the
  -surveillance video'w'ritten into in hissworn arrestaftqdavitsupra.Plaintifr never had on a shirt.
  attem pted to w alk aw ay as The Fem ale becam e aggressive,and Plaintiff s fishing knife w as in
  hisbag.There are no articulable factto supportPlaintiffs arrest.see D epartm entalOrder l1,
  Chapter l.7 atparagraph 50 infra.

   l2.      Defendantûc-l
                        'tN
                          -
                            r'Pol
                                ice D epartm entalO rder 1-Chapter ll.6.20.1 states,Q.
                                                                                     %f'elnberstr?t,/
   civilianenlployeesq/*thel.lEy.
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                                                                                           j.
                                                                                            '?'.i#/alîdproperly
    lToclatethesurveillancevideoDefendant-cit),.
                                               '-PolieeOt-
                                                         ficerKennethLewisretlzrredtoinhisSworn .trrest.ttliclavithasneverbeeneolleetedper
    Defendant'City'Policy!12.22J.
    2L'ptulk'trrivalDetbndantPhilippeandI-qlNvislirstcontactttd'1'l)ePlaintil'fAvhoexplailletlthq!evelltsatbar($6-8).lhentllel'receivedcontradiaory
    staternentsfi  'om '
                       l-heNlalelandlk
                                     '
                                     elnalc1.(plaintitl-EXl1lB1'1
                                                                -52al  r2:32)-(p1aintit'
                                                                                       l-EXHI131- 1'50at3:  55).
    sGhislainFourqtlierisreferredtoas'Thehlitlz'throtkghout'lllisConlplaint.llecanbi
    '
                                                                                           cidkmtil-ietliI)PlaintiffL'Xll1Bl'F41at16:44:49kickillgoll'
    hisshoespreparing an attack upon 'Ihe Plaintitl',
    AsandraBernardiisrefel-red to ctsF'The Fenlale'tllrottghotïtThisColnplaillt.and idekttitied as The Fenzale attaiking The Plainti6't'in ENHIB ITS.
Case 1:21-cv-20635-DPG Document 1 Entered on FLSD Docket 02/16/2021 Page 7 of 46




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                   j//?/èrsqjèkeeping.-Todate-no -surveillancevideo'from -thelobby'1hasbeen
  procured orseen by anyone otherthan Defendant 'City'O ftqcerssupra,and DTG H
  Security/staffw ho provided said video.Defendant 'City'Police Departm entalO rder l1.Chapter
  16.4.29 states.QAIIreports ct-
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  AtbarpTheArrestAffidavitwasnotthoroughly completed and did notcontaintheproper
  elem ents,the -lobby surveillance video'w as neverprocured per said Defendantûcity'
  Depadm entalO rder 11-Chapter 11.6.20.l supra this paragraph,Plaintiffcom plainsTriers of
  Factcan infkrDefendantts)LewisandPhilippeknew Supervisorls)would notinsure
  thoroughnessofallreports(asidentitsed hereby DepartmentalOrder)dueto rotltine detscient
  supervisionlasexplainedinfraat!67-76.ThePlaintiffspersonwasseizedforoveramonthdue
  to Defendanttcity'Police Supervisorsfailureto identify the falsely sworn arrestaftidavit
  subm itted by D efkndant Lc ity'Police O ftqcer K enneth Lew is.Supervisors also failed to insure
  procurementoftheonlymaterialphysicalevidence(surveillancevideo).Here,weseeun-
  thorough reportssw ith im proper elem ents,validated by Defendant ûcity- Supervision.See
  DepartmentalOrderl1-Chapter8.3supraat!1l.
           PlaintiffEX HIB IT 4 l supra proves the description ofevents written in DefendantLew is'
  sw orn ArrestAftidavitm aterially false.Det-endantLewisand Philippe m aliciotlsly provided their
  Supervisorsm aterialfalse statem ents w'ritten directly into The Sw orn A rrest Aflsdavit.U pon
  review ,w ith respecttow ard D epartmentalPolicy,these m aliciouserrors should have been found.
  The Plaintift-com plainsthatlack ofappropriate supervision ofDefendants Philippe and Lew is
  caused The Plaintiffto be t-alsely detained,and arrested.The Plaintiffquestions,w hatO m cer
  tlnder appropriate Supelwision,would provide theirsupervisorw ith direct evidence oftheir
  purposefulm aliciousbehavior.Atbar,The Plaintiffhasseveralsurveillance videosthatcaptured
  the events atbarsuch asplaintiff EXH IB IT 4 1-5l,61,and 71,non ofw hich w ere procuredaor,
  are m entioned in Defendanttcity'Police O fticer Kenneth Lew is'sarrestax davit.These videos
  show the exactopposite ofwhatisw'      ritten in The Sworn ArrestAm davitofDefendantlcity'
  Police O ftscerK enneth Lew is PlaintiffdeniesO fticers underappropriate supervision w ould
  supply their supervisorsw ith evidence thatdirectly contradicts them selves-and then,w rite
  falsities into The OfticialReportsthatsupervisors are required to acquire,and review .
  Departm entalOrder 11.Chapter l.5.8 states,'D istriclus'  ecjztzlz'
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  PolicesupervisionatmultipleIevels-this,inviolationofsaid DepartmentalPolicy-leadto injury
   to Plaintiffsperson thorough detainm ent,arrest,and.lossofhisLiberty,Between Defendant
   '
     CitynPoliceDepartmentalOrderl1.Chapter16.4.29 mentioned supra in paragraph 12,and,
   Departm entalO rder 11-Chapter l.5.8 m entioned here,the obviousoversightofm aterial
   elements-falsely writtenzwithin OfficerKenneth Lewis'sarrestam davitby hissupervisors.and-
   the non-procurementofthematerial'surveillancevideo'from thelobby,would inferto The
   TriersofFact,lack ofsupervisions   'leading to deficientperform ance by O fficersK enneth Lew is
   and W andler Philippes'resulting in The violation Plaintit-fs Fourth A m endm entConstitutional
   Rightto be secure in his Person from detainm entand arrest. Thislack of supervisorialoversight
   infersfbr TriersofFactthatD etkndantec ity'lack ot-supervision w as Qm oving fbrce'behind his
   illegaldetainm ent,falsearrestand lossofLiberty


     lDetkndant-(-'ity-PoliceInternal.-tl-fairsfoundnoviolationsinproceduresofDefendant-City'PoliceOtlieerKenneth Lewis-sperformance
     ot
      -dutieshere.becauseDefendantvcity-Internal.l-
                                                  tlitirsconductedadetseientInvestigation(Infra!75).
     zDetbndant-city-hasyettoaddress7-heFalseStatementswritten in DefendantLevvis'ssworn uorrest.-tllidavit-or-theoversit
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     SupervisorswithregardtoTheFalseStatementswithin The-ltrrest.ttlitktN'it.
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   l4. ln addition to paragraph l3 supra,itcannotbesaid thatDefendant'City'did notknow
  that,non-supervision ofPolice Ofticersforconform ity to Departm entalPolicies.isnecessary or.
  the naturalconsequence ofsuch w ould be a casualdeprivation ofThe ConstitutionalRightsupon
  ThePopulation to which they serve,including Plaintiff DepartmentalOrder 1l-Chapterl.6 Roll
  CallProcedures.DepartmentalOrder ll.Chapterl.6.lRollCallTraining,statessQl'ield
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  thatDefendantûcity'hasknow n that supenision ofO ftscers,asw ellas tirst-line supervisors,
  hasbeen wsubjectt?/'t/e/7éd7'/-cz?/:z/-;.
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  Additionally,Plaintiffcom plainsThe TriersofFactw'illinfer.lack ofsupervision and training
  when om cersfailto procuretheonly physicalmaterialevidence(surveillance video),and this
  goesun-noticed.

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    cities-supervisors deliberate indiflkrence to D epartmentalOrder l1-Chapter 16,4.29 creates a
  casualconnection leading to Plaintiffsdetainm entand false arrest,due to Defendant'C ity'
  Police Supervisorsfailtlreto ensure tproperelem ents',and -thorough correctness'ofDefendant
  Lewis's A rrestA t-  tidavit,asperD epartp entalPolicy.Also,Supervisorsfailed to con-ectthe non-
  procurenzentofthe m aterialsurveillance video m entioned in D et-endanticity'Police O fficer
  Kenneth Lewis'sarrestaffidavit(to datethisvideo hasneverbeen seen).Supervisorshould have
  recognized thatOfficer Lew is had notensured theaccuracy ofThe ArrestA ffidavitper
  Defkndant lflity-D epartm entalO rder l1.Chapter8.3 asalso identitied specitscally by The
  United StatesDepartmentofJustice in itsConstitutionalPolicing Agreementl(supra).Plaintiff
  suggestEXH IBIT 23 establishes int-
                                    erence forThe TriersofFactto determ ine Defendant-c ity'


   'Plaintitl'callsthisAgreement-constitutionalPolicing-tgreement-atbar'
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   Defendant-city'-unduxranothername.
Case 1:21-cv-20635-DPG Document 1 Entered on FLSD Docket 02/16/2021 Page 9 of 46




  hasbeen awareofdeticiency regarding lack ofsupervision ofitsOtlscers-particularly with
  regard to -Departm entalOrder ll',w hich isthe exactD epartm entalO rder The Plaintiff m entions
  here,

   16. D epartm entalO rder ll-Chapter l.5.8 states,Ql-bistrict<          V ?r>Yt-/??/.
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  The supervisorialrequirem entshere ofD efendantEcity''D epartm entalOrder l1,asidentified
  specifically by The United StatesDepartmentoflustice,in particularto be 'ensllred'by
   supervisors(! l5)forConstitutionalPolicing,areatbar,shownobsolete.W-ecanseethe
  prudence ofThe U nited StatesJustice D epartm entsidentifcation ofthe im portance ofD efendant
  -city'to ensure itsOfficersfollow its l'ules,specilscally Departm entalO rder l1to ensure
  ConstitutionalPolicing.

   l7. Said ConstitutionalPolicing Agreem entstates atSection I'
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   Plaintiffcom plainsThe Triers ofFact can inferthat Defendant tcityzhas show n deliberate
   indit-ference inthatithasbeen previously identified thatsupervisorsneedto be monitored
   closely to ensure theirsubordinates are tbllow ing Policy.N otonly have supervisorsatbarfailed
   to supervise PatrolOflicers,butsupervisorsofthe PatrolO fficersnare notbeing appropriately
   supervised.Atbarwe see PatrolOftscerKenneth Lewiswriting false information into Sworn
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   Arresta
         'ttlsdavit,andnotprocuringmaterialevidence(surveillance video)perDepartmental
   Policy,a11ofw hich violate Defendant -c ity?Police Departm entalPolicy,and has been identified
   forD efendant'City'to correct,yet,atno levelofSupervision,w asthisfailure identified by
   supervisorsscausingPlaintiffsprolongedlinjuryofseizureand lossofLiberty'
                                                                          ,theseoversights
   do notprocureConstitutionalPolicing,and overlooksprudentopponunitiesfortrainingthat
   ensuresConstitutionalPolicinp w hich w as the goalofDefendant-city'and The United States
   Justice Departm ent when they entered into The ConstitutionalPolicing Agreem entsupra
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                                                                                                             s-s
    disregard 0/1the/?t'r/t?f(  . )?mtpelz'isor$4'
                                                 ///sqffice/tpimpose//t' ?/?j/k/J?'n(Howardv.Adkison887
    F.2d l38at(6J).Atbar,notonlydidDefendantLcity'agreewithTheUnited StatesJustice
   Departm entto guard againstdeficient supervision ofitsO tx cers through The Constitutional
   Policing Agreem ent-failure to do so,could be inferred asrecklessdisregard or indiftkrence for
   Triers ofFact.

   20. Plaintiffcomplainsinfra(infra:21- 26)thatwhereasuccessionofmistakesby
   DefendantsPhilippeand Lewisarepresentduringthecourseofonearrest(supra!6-9),that
   leadstodeprivationof Plaintit-fsFourthand Fourteenth AmendmentRights(tobetkeefrom
   unreasonable seizure,and arrest-
                                  'and to procure,Due Processand EqualProtection ofThe Law'
                                                                                          ),
   itisan indication ofIack ofsupervision,thustraining (Detkndanttcity'willnotdeny that
   DepartmentalPolicy Dem andsOtlscersknow ConstitutionalRightsofcitizens).Plaintiffinsists
   thatw here there is appropriate supervisionoincorrectproceduresthat violate D epartm entalPolicy
   isminimal,and,leastlikelytobeimplemented insuccessionsuchasatbar(infraat!21-26),
                                                                                  .
   and,where there isappropriate supervisionsapplication ofincorrect Departm entalPolicy w ould
   becom e increasingly m inim ized,unlike atbar.The cont-ederated succession ofm istakesby tw o
   D efendanticity'O fficers,dem onstrate a clear need of-appropriate supervision.Further,Plaintiff
   com plains,thatD efendant tcity-vesting ofconlidence in O fficersNvandlerPhilippe and
   Kenneth Lew isto uphold The Law s ofThe United States,and The City ofM iam i,goesagainst
   its ow n Policiesbecause M iam iPolice Departm entalPolicy requiresO m cersto know a1l
   Departm ental,Localand FederalR ules-and Law so   'thus indicating thatD efendant tcity'of
   M iam ihasn'ttrained these Defendantsto know their policy-orfailsto supervise them
   accordingly,thusvalidatingtheirnon-conformancetosaidLaws,Policiesand Procedures.nprotl                           f
   t?fac'  p/t.
              7/hlowledget#'(.W;?x/j/?z//fpz?t//violations/.  î'notlytau'tdvcrallt.'
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                                                                                      tn////tJprerequisitejbr
   j???/?t?.
           j'
            /??psllpervisor/j:/>///y'.lhis(7talIr/hasc'   fp?lW.$'
                                                                 /tv?/),
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   qfasltpervisorw///x?.    (//icelo j/?7#f.
                                           z5'
                                             e'littbililj.
                                                         ',(Howzard v.Adkison887F.2d l38at(61.               ).
   Defendanttc ity'Police O m cers Kenneth Lewisand Nvandler Philippe had such contidence in
   Det-endantkcity'Supervisorslack ofsupervision.thatthey m aterialized,recognizably false
   evidence,into The Sworn ArrestAm davit(surveillancevideo ilobby')-and feltno need to
   procure said evidence perD etkndant 'City'D epartm entalPolicy' ,thus m antlfacturing evidence to
   procure The Plaintiffs arrest,validated by Det-endant 'City'despite written Policy.

   Laneuaee Barriers:
   21. In M iam iw here two languages are spoken regularly,and tourist com e from al1over The
   W orld.The Plaintiff com plains that Defendants Philippe and Lew is could not have used correct

        lAtanytimellefendant'City-.oritsPo1iceSupervisorscouldhaveidentitiedtheerrorsleadingto Plaintil-fsarrestbyitsOflkers.Asofdate.
       Defendant-ci
                  ty-hasnotidentit
                                 ieddeviationslkom saidDepartmentalPoliciesof-
                                                                             f'
                                                                              heOtlicersand SuperNisorsatbar.nullih'ingwhatever
       purposewaspurposedbyim plem entingsaidlJepartmental(lrders:Plaintit-fsincarcerationwasprolongedashelbughttoprovetheallegations
       written into DefendantKenneth Lewis---trrest.M l-ida
                                                          'vit1'
                                                               t4lse.TheChar
                                                                          . geswuxre eventualty dism issed-Detkndantsneverhad-orhave now-
       am 'materialevidencetosuppllrtTheArrest.
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   D epartm entalPolicy atbar,allowing The Nlale to translate for the alleged victim nand,if so,this
   t
    supervision' is detscient. Appropriate supervision w ould have either trained these Defendants
   priorto theiractions,oridentified thisneed ot-correction.ln PlaintiffEX HIB IT 52:InternalAffairs
   StatementofOflicerW'.Philippe at4:34 DefendantPhilippe statesthatthe witnesss(Ghislain
   Fourquelert).wastranslatingFrenchintoEnglishforhimself(DefendantPhilippe)andDefendant
   Lewis,GhislainFourqtleler(TheM ale)wastranslating forTheAlleged Victim (TheFemale)who
   apparently spoke only French.DefendantPhilippe also statesthathe w astranslating for Defendant
   Lewisz(plaintiff EXNHIBIT 52:lnternalAffairs Statement ofOfKcer W'.Philippe at4:44).ln a
   community suchass'
                    Iiami-DadeCountywhereforeignersareabundant,and NationalSecurityis
   a priority.ThePlaintit-
                         finsiststhatThe FlndersofFactw illinfer-in lightofthe totality ofEvidence
   atBar,thatthere hasbeen a reckless disregard to The Supervision of DefendantsPhilippe and
   Lewis,Plaintiff complains that proper supervision includes identification of needed training.
   Plaintiff complains,it is inappropriate for a suspect.to be a prim ary w itness,against the person
   w ho has contirm ed him as The Suspect, when there are other w itnesses available. Defendant
   Philippe, and Lewis, spoke with The Plaintiff tirst (plaintiff EXHIBIT: 52 lnternal Affairs
   Statem entofoflicerW '.Philippe at2:32,and plaintiffExrl-llBl'
                                                                r 50:lnternalAffairs Statem entof
   OtlscerKennethLewisat5:07)andThePlaintiffdescribedGhislainFourqueler(TheNlale)asthe
   personwho assaulted him and damagedhisproperty (cellularphone)(supraat! 9).Now to use
   The N' lalestestim ony to indictand arrestThe Plaintiff,againstthe m aterialevidence-is erroneous.
   ln essence, testim ony w asn't taken from The Alleged V ictim , because it was taken by The
   Plaintiffs assaulter,D efendants Philippe and Lew is have no idea of The Alleged V ictim s true
   testim ony that day.N o recorded statem ent w as taken. Plaintifr complains language translation
   policy w as not follow ed, or is inconsistent w ith The United States Constitutions Due Process
   C lause contributing to Plaintiffsfàlse arrest.

   Prim arv O fficer'
                    .
   22. DepartmentOrder l1-Chapter l.3.4 states,ûTherz'jzpèz?g,                            'officert'    /-s'
                                                                                                           -
                                                                                                           Wp?G/to 61ctW/Fm
   yt?rv/ct?or Jz'   ?officer u.   Wt?.$E?//-
                                            7initiates tzcallfor s'        crvjct!is rës'   ponsible /(?r the rrtl//p/j??tw:J,     '
    itlvestigatiotlt?f that crime or incident. I#zf-             ,/t?/'some c/?'c?/?z?.$'/tr?t.?t?-
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   larelim illaly k/e/'
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   DepartmentalOrder11.Chapter1.3.4.1states,-Bts                            '
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       yatws.
            j,
             j/7#j//o'x olltlilted in //'
                                        ?jA'c/?t/p/cr.'Itis The Plaintiffsunderstanding thatthe t5rstoftscer on
   -thescene'isincharge,unlessasuperiorofficerispresent(ThePlaintiffreferstoTheFirstOfficer
   astTlAePrimaryOfficer').DefendantsPhilippeandLewisthroughlackofsupervision,switched
   who w as Qthe prim arynO ftsceron the scene.This tsw itch'effkcted The Plaintif-
                                                                                  fs InternalAffairs
   Investigation because The Plaintiff could notrem emberthe namesof Defendants Philippe and

        lldentiliedasv'T'heNlale'througheutThisComplaint.
        zDefendantPhilippeplaysavitalrolehere.Heistranslating ''llleNlaterialTestimony-thatDefendantLessiswouldwriteintk,his.   -trrest
         M-t-idavit.
        3HereThe-    z
                     trrestingOllicer(DetzndantLewis)didnoteonduet-orhave'  IlleInf
                                                                                  brmationtiom 'l'
                                                                                                 hePreliminaryInvestigation conductedby
        DefendantPhilippe.
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   Lewiswhenhe reportedhiscomplaintto Defendantwcity'InternalAffairs.Asaresult-Detkndant
   Lewiswasidentified asthe primary officerwhen in factDefendantPhilippe w'
                                                                          asthe t
                                                                                irstofticer
   onthescene.Det-
                 endantLewisdidnotan-iveforquitesometimelater(supra!9).DefendantLewis
   was now held responsible for not responding to This Plaintiffs requests to have a reporttaken
   concerning hisbrokencellphone.DefkndantPhilippewhoThePlaintifftlagged down (plaintiff
   EXHIBIT 52:lnternalAffairsStatementofOfficer:V.Philippe at3:55).heard ThePlaintiffsfull
   story of events-and also rem em bered This Plaintiff requesting a reportbe m ade concenaing his
   cellularphone(plaintiffExvl-llBl'    l-52:lnternalAffairsStatementofOm cerW .Philippeat8:18).
   Asexplained supraat!nine(9)-&lheFïr5'/Othcer/f)tr           /è??:ir?/Philli
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               /t'r/Tlz?/Lewi.
                             b)o?//.s'
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    TheJVtW/?/#.J
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   (?f/H.
        &mctrked (Q(,  pPatrolIkhicleu'à/c'   /lIhef7/tW/l/f
                                                           #'t#xt- >protested.-ThePlaintiffbelievesthat
   switches stlch as this are problematic for these reasons at bar, I.) The Plaintiff identiûed an
   unknow n Officer to Internal Affairsa
                                       'and that ofricer w as incorrectly identitsed because of -the
   sw itch'. 2.) The information relayed on the scene became confused. Plaintiff assulnes that
   conp etentpolicing assigns'prim ary'ofm cersto scenes,in part,so thatThe Second O tx ceron The
   Scene,doesn'tdictateterm s,when she/he may have missed relevantdetails(such asatbar).Here
   O fficer Philippe should have been prim ary.Plaintifr EXH IBIT 52:lnternalAffairs Statem entof
   O fticer W . Philippe at 8:l9 D et-endant Philippe states, *1 :/0 rem elnber //lt? snspect ?z?t       iw/&#?
   som ethitl                    /CCE?J cell#/?t?z?t?'.Plaintiff EX'H IBIT 50:lnternalA ffairs Statem ent of
             g t7/?(???/the JJ- E-
   O fKcerKenneth Lew is at4:40 - 5:l6,DefkndantLew isisasked-bWhell>'                t??/arrived /?t?w'dids'lllt
   assistoz?the ct  W /?'D efendantLew isresponded by repeating the question.Then he states.-WheltI
   po/ /:p the czz//, f m ade cwz//tzc/, b$'ell,I xt-fu'the xl/-
                                                               srecf.#/,
                                                                       -$'/!'The lnternalAf-fairslnvestigator
   repeated the question again. and Defendant Lew is answered Lveah'. The Plaintiff show's here-
   D efendantLew isdidn'tknow ofThe Plaintiffscellphone com plaintbecause he w asnotbprim ary'
   (plaintiffEXHIBIT 50:lnternalAffairsStatementofOftscerKenneth Lewisat8:00 -8:30).The
   Triers of Fact can also intkr that Defendant Lew is didn't know that The Plaintiff twaved'them
   downsbecause he was notprimary (tirston scene)and this tswitch-altered Defendant-city'
   lnternalAffairsInvestigation (plaintiffEXHIBIT 52'.lnternalAffairs Statement of Officer 5V.
   Philippeat3:53).Plaintit-fcomplainsDefendant-city'lack ofsupervision,iseverincreasing poor
   dynam ic,w ith regard to Defendants Philippe and Lew is'actions atbar.

   Evidence:
   23.     In Plaintiff EXHIBIT 03: Arrest Aftsdavit (page 2of 2)-there is this -note-: -b'ideo
   s'?zr'
   -           /z?ct? cam elvl.fronz the /t
        ve'///t.
               -                          '
                                          y/7>.
                                              ),
                                               'c6vtlu-ed the /??c'
                                                                  jt,
                                                                    /td??/.'This is an affirmative statement
   attached to a Lsworn'A rrest Affidavit.Plaintiff EX-HIBIT S 41,51,6l,and 71 capture al1ofthe
   materialvideo surveillanceevidenceatbar,related tothesinglechargeapplied toThisPlaintiffby
   Defendants Philippe and Lew is of 'Attem pted Aggravated A ssault w ith a Deadly NVeapon'
   (felony).ThisPlaintiffcomplainsthatthe only Llobby'video thatexists,though hasneverbeen
   s
   k
    een.woul
          7
             donlyshow GhislainFourqueler'w(TheMalet)procuring-
                                                                bottlesandglassestoexitDTGH
                                                                               .
    lobby and throw attheretreatingPlaintiff(PlaintiflEX-HIBIT 51.HotelEntrance Surveillance
   Video at 16:45:47 and 16:45:48).This Plaintift-credits a substantive Iack of stlpervision of
   Defendantts)Philippe and Lewis,who identify here,a surveillance video thatdoes notexistoto
   procure probable cause to arrest This Plaintif-    f on said tklony charge stlpra Defendant icity's
   Police D epartm ental O rder l1- Chapter 16.4.29: -AlI ?-c/?(?r/5'concernitlg tr/ arrest, p?&.       s'
                                                                                                         / be
   rer3.
       yk'
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            e'l b),                  w/lpt
                  :(7supervisor. Ihe -  ./rJ,
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   c(???/tW??the/?rf)/JEv'elements.'Plaintift-complains thatwherethere is.not,a reckless disregard to
   appropriate supervision,and validated disregard for Departm entalPolicy,m aterialevidence such
   assaid ûlobby'video would have firstbeen viewed by stlbordinatesofappropriately supervised
   O fflcersathenoprocured for evidence of probable cause fbr prosecution.The Plaintit-  f complains
   thatin lightofthe conflicting tale ofeventsbetween The Plaintiff)and alleged Female victimpit
   w asincom petent,and an indicatorot-recklessdisregard by Supervisors,thatthese veteran O fficers
   failed to view and procurethem aterialevidence ofsaid tvideo',while ThePlaintit-fwasillegally
   detained(plaintif-
                    fE:x--
                         FlRBlT 50:InternalAffairsStatementofom cerKennethLewisat6:39).The
   Plaintiffaffirms hereothatFinders ofFact can tind in the materialevidence atbar,thatthese
   om issionsoriginate from a reckless disregard to Departm entalPolicy w hich requires a supervisor
                                     ?rtkl/g/
   to -e!??.ç?fzv the reports are /àt'     , V.r cont
                                                    p leted t'
                                                             Jr/t/ t.
                                                                    'o??/tW?? tlle JJrt'
                                                                                       ?
                                                                                       /Jt?r elem ents '. Plaintiff
   complainsthatprudentsupervision ofDefendantts)LewisandPhilippe w'
                                                                   ould restrain Oflicers
   from glaring m istak-esw hile on independentpatrol.PlaintiffEx-l-llB l-r 03:ArrestA ftidavitstates,
   'dqfèlldant#t
               dcte
                  /z??tr3,:477/aggvessij'
                                        e.//-
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   his/at'   s'and Jc/p?Wf
         zz?/.       -   ;
                         ?zl/stated thatht
                                         :'&f'
                                             J-
                                              s'goilîg /t?killlwr'.ThisPlaintiffneverhad ona shil't.
   This statement m ade by The Fem ale could have been proven false by sim ply view ing plaintiff-
   EX HIBIT 41:Security Cam era Plaintiffs A pproach at 16:44:24,or said ilobby'video referred to
   by Defendant Lew is in his Sw orn Arrest A ffidavit. The Plaintiff believes that appropriate
   supervision w ould have prevented or con-ected such an egregious error- thus decreasing the
   extended injury to Plaintiffsperson.PlaintiffcomplainsDefendant'City'lack ofsupervision,is
   ever increasing poordynam ic,w ith regard to D efkndantsPhilippe and Lew is-actionsatbar.

   Identification:
   24. PlaintiffEX-HIBIT 16:Ghislain Fourqueler ArrestR ecord show sthe arrest record ofthe
   sole witness Ghislain Fourqueler who's last name is correctly spelled 'Fourquier'(Defkndant
   tc ity'InternalAtlrairsspelled itincorrectly w hile inserting itinto lnternalAffairsdocum entations
   such asPlaintiffEXHIBIT l0:Inter-oftice M emorandum 9-l0-18).DefendantLewisincorrectly
   identified Ghislain Fourquierasa Citizen from France,ThisPlaintif-
                                                                    fcomplainsthatappropriate
   supervisiorl/training w ould have allowed D efendant Lew is and Philippe to identify that M r.
   '
   Fourquier w as not visiting from France,but is actually a resident of M iam i-Dade County w ith
   previouscharges thatinclude assault/battery.Again,D efendant 'City'Police D epartm entalOrder
   1l Chapter 16.4.29 states, iA1lp'
                                   E?
                                    # f/r/5'concernitlg tzp arrest,?p?zj'
                                                                        /be reI,
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                                              s'are //?f//-tp?fg/z
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                                                                                    / contaillthe J?rf?#(?r
   elem etlts.'1Plaintiffidentitied The M ale ashisassaulter.ironically The M ale hasbeen previously
   arrested forassault.Plaintiffquestionsifa thoroughly completed report,is one thaterroneously
   notes incorrect routine inform ation such as Iast nam es, countries of origin, and previous
   departm entalcrim inalrecords concerning citizens.Plaintiff complains D efkndant 'C ity'lack of
   supervision, validates poor dynam ic- with regard to Defendants Philippe and Lew is and
   D epartm entalPolicy.

   C lassifications:
   25.     Plaintiffatbarcomplainsthatappropriate supervisionwould haveallowed Defendantts)
   Philippe and Lew is to separate the classitscations con-
                                                          ectly betw een a 'w itness'and an accused
   û
    assaulter',Atbar,Defendants Lewis and Philippe regarded The M ale as a witness (plaintiff
   EXHIBIT 52:InternalAffairsStatementofOtxcerBr.Philippeat4:09-5:03).DefendantsPhilippe
   and Lew is notonly identified The N'
                                      Iale as a 'w itness'-butthe -sole w itness.'This is at-
                                                                                            ter The
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   PlaintiffidentitiedTheX'
                          laleashisassaulter.ThePlaintit-fwastheinitialcontactwithDefendantls)
   Lewis and Philippe when they arrived on the scene (plaintiff EXHIBIT 52:InternalAffairs
   Statem entofO tx cerq '.Philippe at 2:35 and plaintiffEX HIBIT 50:lnternalA ffairs Statem entof
   Ofticer Kenneth Lewis at 5:07).Plaintiff-complains Defendant tcity' lack of supervision,
   validatedDefendantsPhilippeandLewisto disregardPlaintiffs(Citizens)Rights.
   Nv itnesses:
   26.       The Plaintit-
                         f complains thatthere are no other witnesses identified by Defendantts)
   Philippe and Lew isotherthan those individualsw ho w'ere actually involved in the confrontationl.
   At the tim e of Det-endant Philippe's arrival, The Plaintiff was standing w ith DTGH Security
   M ember mentioned in paragraph 8 supra.This DTGH Sectlrity M ember assisted Defendants
   Philippe and Lew is into D TG H to tind The M ale and Fem ale.ThisD TGH Security M em ber also
   inform ed D efendantsLewisand Philippeofthe 'lobby'video m ention in D efendantLew is'sswonz
   arrestaffidavit.ThisDTG H Security M emberw asnotidentified asa w itness.and isnotm entioned
   in any of Defendant 'City' Police O fficer Kenneth Lew is's docum entation regarding Plaintiffs
   arrest.The Plaintiffsuggests The TriersofFactcan inferdeliberate indiftkrence tiom m any levels
   of supervision svithin D efendant 'City'Police D epartm ent.To use the sole statem ent ofG hislain
   Fourqueler(the male)to indictThisPlaintiffwaserroneouswhen taken asawholeregarding to
   the circum stances.   . especially, at bar where there w ere a m ultitude of other w itnesses w ho
   Defendants Philippe and Lew is could have interview ed but did not. There is no record of
   Det-endants Lew is and Philippe contact w ith any ofthe other witness besides The M ale and The
   Fem alez.D efendantsPhilippe and Lew isdid notinterview D TG H Security/staffw ho m ade one of
   the m any calls to 9ll.The Plaintiff com plains this irrational decision notto interview DTGH
   Security/stafï-com es from lack of Corrective Supervision, thus, validating this perform ance
   against D epartm entalPolicy,D efendant 'City' Police D epartm ental Order 11-Chapter 16.4.29.                 .
   tz
    -.l11reports ctpnctdr?sjp,g (ulL/r?v-
                                        $'
                                         /,lnltstbe rcvkt?l.
                                                           s.
                                                            '
                                                            tdl >),
                                                                  'a supervisor. The x?/JJt?r''
                                                                                              /.w.)r m usttd?lw//r
                                                                                                                 -
                                                                                                                 tl
   thereportst'
              zrctlloroughtvcompleledt?zW cf#?/tW??theprfy/pt//'eletllents'.Here,TheTriersofFact
   can infer,thatsuch an erroneous decision to only interview participantsofa confrontation,where
   there are a m ultitude of w'itnesses, is an egregious m anifestation oflack of supervision.Further
   supervisors should have identitqed Det-endant tc ity'Police Departm entalOrder 11.Chapter 1.7:
   Fieldlntelwiews,which states,nllFicel-%????/.  j'
                                                   /bet'  l/c/taarticlllatejàcts/tasupporttlw tA/el///&pz?
   under g?f#/E?/jpi?A'hu
                        w.a /txtJ/stop tr2J.#-j5'
                           .                    #tzz?t//???z5'
                                                             /notact0/?//?t'basist//'t-
                                                                                      f/??f??c/'
                                                                                               ?.'HereThe
   TriersofFad can inferD efkndantsLew isand Philippe acted on a 'hunch'instead of-  l-he '
                                                                                          N/
                                                                                           laterial
   Physical Evidence. The Plaintiff com plains that his Liberty was illegally taken from him by
   Defendant Lew is,w hen un-constitutionally arrested supra paragraphs 6-9,because of D efendant
   tcity'lack ofsupervision.

   27.       ûBoth FederalJ//t,
                              /Florida .
                                       s'
                                        /(z/e'16Ds'/?t?/t///)t'
                                                              //probablectz?f.
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                                       -)
   rctzxtw?tp/p/t??/z?tA??-the ftp/tz/j/?tyfcircum.b'tances'(Osvakiv.Nzliami491F.Supp2d l140 (1J).The
   X?
   '1aterialEvidence atbar supra,provesthatunderthe totality ofcircum stances-D efkndant icity-
   O fficerPhilippe and Lewis could nothave found probable cause forthe arresting charge indicted
   upon Plaintiff,thereby m aking void The Standard for arguable probable cause,%j/z?#t?r/J??//y,/??
   evalllatitlgprobable ctzl/,çë,(Itlf?     ,#'
                                             .icerp'
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                                                                                          as l
                                                                                             and   v.. Nfiami382 F.3d

         ''rhisviolatesIlepartmentalOrderl1.Chaptc
                                                 xrl.
                                                    3.4(seeparagraph22).
         z'rhe Female apparently spoke French.Det-endantsPhilippe and I.ewisreceived translation from 'l'he Nlale.
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    l220.1229.l233).illntler/.t?Jt??'        c///tpf't7??Jlilol-ida5'     /J/t?Iaw //3t?totality t#'f     -'j?- t--?/p?.
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   circttmstalwesu////7//7tlw t?/ficersf-zltq
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   F.Supp2d 1l40g21).Atbar,Vtl()rf             ztz-
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   probable c'   t.
                  zl.
                    /-
                     s'
                      td&parrestn,(Carterv.Butts82lF.3d l310-l32l).Atbarasimple review ofthe
   surveillancevideo mentioned in Det-endantLew-isArrestAffidavit(plaintiffEXHIBIT 03),
   w-hich w-asreadily available-w ould have been prudentagainst-The Plaintit-
                                                                            fsand alleged victim s
   differing testimonies.Plaintift-seeksdamagesforhislossoftim e,lossofLibel'
                                                                            ty (-Ihesecurity
   tp-ft
       we.
         j'privacyt-
                   fptz/zlx/arbitraly /??/r?/.
                                             W(#?by thepolice/5'implicitj??thecollceptofordered
   liberty tzzltdas.j'
                     llc/7etforceablea.
                                      gtW?lx/theStates///rtp?f,g'
                                                                //TheDueProcess(VJl/.
                                                                                    s'
                                                                                     t?',(Elkinsv.
   US4L ed2d 1670at(2.))lnfraatparagraph95Plaintifrshowshow DefendantsPhilippeand
   Lew is falsely arrestsPlaintiffby falsifying m aterialevidence.PlaintiffinsistsD efendants
   Philippe and Lew isknew theirconductw ould be validated.

             PlaintiffsStatem entofIniuries:
   28.       lnitialinjury wasimposed upon Plaintiffwith hisillegalhandctlftkd detainment(! 9).
   Detkndant (City- of X'
                        Iiam i Police Departm ental O rder l Chapter 2.4.l states, L()ur ??7j.
                                                                                             j'
                                                                                              -5'&p??,
   togetheru'ï/à the ctpr/?/???,
                               //lj/jfJx(f,
                                          jsliatni,/5'to make fplf?-City J#/JG'wherectllpeoplecY#?Iive,
   w'or/c,and W.W/safely wj//yplf/feat'.'Defendantûcity-,Philippe,and Lewis,have combined to
   purposefullyinjectThePlaintiffsapal4ofTheCommunityofTheCityofM iami,withasenseof
   fear. Supra at paragraph 8, The Plaintif' f waited w ith D TGH Security/stat-   f for Nfiam i Law
   Enforcem entto arrive so thathe could reporthe'd been assaulted,and hisproperty dam aged.only'
   to be treated thorotlghly as a criminal.The Plaintiffs eventualarrest,after detainm ent,solidified
   The Plaintiffs fear of Defendant -city's' ability to arbitrarily strip him of his Liberty. thus,
   instilling an enduring fear upon The Plaintiff he praysw illheal.Plaintit-fhas found an increased
   difficulty fsnding a way to enjoy life,and protecthimself.Plaintif-
                                                                     fnow hasdiftsculty being at
   peace with the his life, and how to believe that Liberty is protected by The United States
   Constitution.Theplaintiffsuffered signitscantinjurywhenDefendantLewisfalsely chargedhim
   with'attemptedaggravatedassault/deadlyweapon'(F.S.784.0214l)(A))whichwastheproximate
   cause of The Plaintiffs denial of bail and/or release at his prelinzinary hearingv thus causing
   continued injury upon The plaintift-sperson,mentality,and Liberty.The Plaintit-
                                                                                 fhad already
   endured tw o strip searches per M iam i-D ade Corrections Policy due to his tàlse arrestby the tim e
   hewentto said preliminary hearing.Plaintifl-enduredfburmore strip searchespriorto hisrelease
   from jail (Florida State Statute 90l.21l (2)(b), s'
                                                     liami-Dade County Corrections and
   Rehabilitation'sD epartm entalStandard Operating Procedure N                'um ber 1l-022 IV PRO CED URES
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                                                                                                   '
                                                                                                   y'visits)*.
   Plaintit-f had at least one attorney visit. Plaintit-
                                                       f w as also strip searched after every court
   appearance. Plaintiff appeared in Court 3 tim es. Plaintit-f w as also striped w hen M iam i-D ade
   Departm entofCorrections changed his housing placem enttkom one facility to another.Plaintiff
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   endured 5 humiliating strip searchesduring hisillegalincarceration.Plaintiffseeksthe maximum
   monetary dam agesforthishum iliation thathasbeen severely dem eaning.Defendant -city'Police
   DepartmentalOrder l-Chapter l1.3 states--Theprj/?.  :?.#l
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                                                                             y/jce'Departmenttzrctlw
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   properly ????Jt?r lhe/tnp'  xt?/lheS/tz/t?antllhe(??-(,  #??f
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   multitltdet?/'tasks?-t?/J#??p ft'ppublic If'
                                              t;
                                               '/
                                                ./prEzt'
                                                       rz/J xq/ppz' .'Atbar,Detkndant'City'hasfailed to
   ensure D efendant Phillippe and Lew is can detect crim e per said D efendant -city' Police
   Departm entalPolicy,even w hile in possession ofeasily articulable materialevidence,thuscausing
   Plaintiff hum iliation,loss oftim e,agony to tsght forhis un-im prisonm ent.D etkndant tc ity'has
   failed to supervise Defendants Phillippe and Lew is in the apprehension of crim inals, insteada
   Defendantkcity'hasvalidated DefendantsPhilippeand Lewis'maliciousapprehension ofvictims
   such asThePlaintifïlcausing iniury to Plaintiffspersonthrough seizure (detainment),arbitrary'
   denialofLiberty,and false arrest.Plaintiffsuffered the em otionaltoilot-expressing hisinnocence
   in vainatirstto Defendants Philippe and Lewisa 'Then to a CourtofLaw thatbelieved the false
   atxdavitofDefendantLewiswhen it(The Court)denied Plaintit-freleaseorreduced bailathis
   prelim inary hearing regarding the charges againsthim by D efendantLew is.Plaintiff seeksto be
   compensated in an attemptto be made whole from the damage inflicted arbitrarily upon him by
   Detkndant-city',from itsreftlsalto protecthisCivilRightsfrom denialby itsOm cers.Plaintiff
   seekscompensation from Defendantlcity'foritsfailure to ensure DefendantsPhilippe and Lew is
   follow said D efendant çcity'D epartm entalPolicies stlpra,D efendants Philippe and Lew is failed
   to protectPlaintiffsperson and property.These ad ionsw ere validated by Defkndanttc ity'through
   Defendant'City'refusalto ensure supervisorshold om cersPhilippe and Lew isresponsible for
   violations ofD epartm entalPolicy and United States ConstitutionalRightsgranted Citizens.

   29.      Plaintil-f seeks com pensatory dam ages tbr said em otional distress, ùsltch harm ct-f/l be
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                                                                                 ??:??t),
                                                                                        '',(Seatonv.Sky49lF.2d
   634
     ,-636).The arbitrary denialof Liberty,leading to illegaldetainm entand false arrest,uin //JEz
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                                                                                                           f//?tW right',(BaSiSta
    v.W eir 340 F.2d 74). Detkndant lcity' harmed This Plaintit-f in its failure to supervise
    Defendantts)Philippe and Lewis,-l'              he lbd/r/t?t. ?z?//'
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   t'z/pper
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                                                 fthe/t'zu'.j''(U.S.v.Cruikshank23 LAQV ED pg.588at(8.)).
   30. Asstated supra!8,Plaintit-
                                fwaited forDet-endantûcity'Policeto arrivetoreportdamage
   to hiscellularphone.Plaintiffwashandcuffed and detained beforeDefkndant-citJ?'officerseven
   spoke w ith The alleged V ictim . Plaintiff w as then arrested despite the m aterial evidence.The
   emotionaldistressgainedmomentum througheachofthesesteps(handcum ng,detainmentvarrestp
   lossofliberty).FirstoflscersignoredPlaintiffsreportconcerninghiscellphone.Plaintiffbelieves
   officersdidn'teven question The Nlale,Fem ale-bystanders,orDTGH Security/staffregarding his
   cell phone. This disregard for The Plaintit-
                                              fs property goes against Defendant kcity' Police
   DepartmentalPolicy (supra!28DepartmentalOrder1-Chapter11.3)which statesprotection of
   property isaPrinze Function of-rhe M iam iPolice.Plaintif-fendured multiple levelsofhum iliation,
   Plaintiffhandcuft-ed arbitrarily,though Plaintiffposed no threatsand,com m itted no crim e.Plaintift-
   w asplainly aw are ot-bystandersw atching him subm itto being handcuffed forobserving hisability
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   to report property damage to The Nfiami Police Department-this hum iliation has endured to
   becom e a tkeling that w orthlessness best describes him - according to Defendant 'City' and its
   Police Depaftment,Plaintiffnow tsndsitseverely distressing to face reality knowing hisLiberty
   isnotconsidered valid by DefendantLcity-,and itsPoliceDepartment.Plaintiffdiffkrentiateshis
   handcuffing and detainment,asdistincttypesofdistress.Plaintifc thenarrested Plaintit-
                                                                                       fcausing
   hisprolonged incarceration whichcontained itsstressesuponThePlaintitl-dailys
                                                                              'through Plaintiff
   attemptsto contacthisattorney,desperate to projecthisinnocence.Plaintifrlosttime with his
   family.Plaintifflostjobopportunities.Plaintiffequatesthislossofl-ibertytoearlyBlackAfricans
   whowerecapturedbyEuropeansasslaves,no questionsjustarbitraryguilt.Plaintiffmakesthis
   comparison because to lose freedom so arbitrarily and easily. is hard to articulate otherw ise
   eftkctively to demonstrate the greatextent(7t-mentalemotionalinjury.Plaintifffeltan intense
   agony fkom this incarceration,as w ould be expected as if w aking up ti-om a dream ,in a realcell,
   notable to leave-wondering why yourthere.Plaintiff seeksmonetary damages forthisdistress,
   humiliationvagony,and lossoftime from incarceration,and,thetimeittook to w'ritecomplaintat
   bar.Defendanttcity'deliberate indifference to the Supervision ofitsPolice Departmentcausing
   injuryuponPlaintiffandPlaintiffseeksmonetar. ycompensationinattetnpttobemadewholeagain
   fi'
     om thishumiliation,'lmmiliation cwz?bekzlAz'
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                                                 E?l.#wzz?thecjz'
                                                                z.
                                                                 -?/z//x/:zz/tA?-î'',(Seaton v.Sky 49l
   F.2d 634,636).To dateThe Plaintiffscrim inalrecord stillretlectsthemaliciouschargeofAssault
   w ith a Deadly W eapon, this, com m itting The Plaintiff to this defam ation indefinitely.Plaintiff
   seeks compensation for past,present,and future hum iliation w ith regards to this intentionaland
   grossmisconduct(!61).
   31. Plaintiffseekscompensationforhisinjuriesincludinglossoftimehesustainedasaresult
   of the false arrest.Plaintiff spent w eeks in Dade-county Jail because of his denialofLiberty.
   Ll-iberty zzltxz/3xm ore //ltz/?.frt
                                      ?tplt#p.#-t:
                                                 )p,bodil
                                                        s'?-t?.
                                                              $/rtW??/',(sz
                                                                          leyerv,Nebraska262U.S 390).The
   Plaintiff endured injury from his loss of his Right to 'engage jz?and gc/zezw/év et#)-%'//3(zj'c
   privilegesyoz?.
                 jrrecosmized as(?,ç.
                                    stv?/jtz/'-(kleverv.Nebraska262 U.S 390)suchastheabilityto
   reportcrime.Plaintit-funduelossofLiberty,tobecontinedtoajailunlawtkllyisunfatlzomablein
   Our G reat Civilized Society, Plaintiff lost his Liberty by seeking Nlliam i Police D epartm ent
   suppoft,regarding the destruction ofhiscellphonev'Plaintiffseeksm onetary dam agesin an attem pt
   to makehim wholeagain,-lhdeetltheQ'itizenst#'tr         l.
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                                                                       y ctaz?colîceivec?/z?t'
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                                                                                             )gn-eaterjzlj//cv
   than lhetrfyz//j/l/fet,
                         /tu?justJtwrjvtz/jtv?(?fLiberts',(Row'ellv.Holt850So.2d480at(4q)          .,Plaintiff
   seeks to be compensated for his prolonged incarceration due to D efendant tcity' disregard to
   known causes leading to deprivations of Citizens Rights,such as Plaintiff atbar.At any time
   Defendant tcity? Police D epartm ent Supervisors could have review ed The Arrest Reports as
   requiredbeDefendantzcity'PoliceDepartmentalOrders(!l2013).Review wouldhavetbundthat
   The NlaterialEvidence did notsupportThe ArrkstofThe Plaintiff.Asa directresultofthislack
   ofSupervision-Plaintiffinjuryofconfinementwaslengthened,causingPlaintit-          fcontinuedlossof
   (time)Libertythroughcontinement,awayfrom family(children)andloved ones,Qsllch/'            ?lrz??can
   >t?iqferredh.
               om thec/rcd/vy/tzz?ctz-s'aswc//astz,
                                                  5'
                                                   /ta>//-
                                                         sWt4J ty.the /p5'p/??tv(p-,(Seaton v.Sky 49l
   F.2d634).Plaintiffinsistsemotionalinjurywascreatedfrom thisLossofTime,andinjurycreated
   from The LossofTim e ittook to write Complaintatbar,w hich caused Plaintit-fcontinued isolation
   from hisfam ily and loved ones,asittook overtwo yearsforPlaintift-to writeComplaintatbar,as
   Plaintiff-could not af-ford an attorney, Thotlgh Plaintit-f is not an attorney, The Civil Rights
   AttorneysFee AwardsActof1976(42 U.S.C.A j l988 (bJallow forTheAwardofReasonable
   Attorney'sFeesto theprevailing pal'tyincasesbroughtunderCivilRightsLawsincluding Section
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   1983,and,applies whether or notCompensatofy Damages were awarded, or whether or not
   Plaintiffprevails.Though Plaintiffisnotan attorney,wherehisrightshave been violated such as
   atbar,and provenby The M aterialFacts,causing Plaintifflossofyearsto research and write,and
   gatherm aterialevidence,Plaintiffseekscom pensation forthe distress sustained from ThisLossof
   Time trying to tind a sense ofLiberty regained by writing complaint at bar,     'without which
   Defendant'City'validation,ofitun-constitutionalactionstowardsCitizens,through itsPolice
   D epartm entw ould go unrecognizedl.

   32.      Plaintiffseekscompensatorydamagesfbrsaid intlictionsofintentionalemotionaldistress.
   Theseinjuriesofdistresshavecausedseverelife-long emotionaliqiuriesuponThePlaintiff The
   Plaintiffwillneverenjoy lifethe sameagain asa resultofDefendantGcity'PoliceOm cersas
   identified supra.BecauseùtheimpactruletWke5'??0/apply /t?recogltized //?/e?l/&?z?a/tortsthatre-$'        ?f//
   //? predom inalltlv t?v/tp/jt)?'
                                  /t'
                                    z/ dam ages j?,
                                                  /c/kzt/jl?,g itl
                                                                 tentiolzalj/?#jc//r???t?f emotiolîaldistress' .
   (Atnu'e'//1.   '.Holtr  h'
                            l(?5-0.2ç. 1475 (2.))Plaintiff seeksjustcompensation.fz?the A'/tz/e rp                    -/'Florida
    T/(.
       ?/z?t???/-j'(?fc/tWzp.  for /??/(-
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                                                                   /byp/Jj??/jf/,-4)rrtpt?/co/sl//(:'/caltsed //?(?emotiollal
   distress',(Gonzalezv.US231F.Supp.zd ll99gl5J).




            tcreatinganissueot-vgreatpublicconcern-.
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      STATEM ENT O F M A TER IAL ISSLJES O F FA CT;eausinz.TH IS A CT IO N for
   DAM AGES:asRELATED TO DOUBLE TREE GRAND HO TEL (DTG H)forneelieence.

   33        JUR ISDICTION RELA TED TO STATE CHA RGE.N EGLIGEN CE :
   '
   W ticleIl1ofTheUnited StatesConstitution28U.S.C.j1367SupplementalJurisdiction:gives
   .

   thisFederalCourtJurisdiction ofallclaim s atbar.
   34. Itisundisputed thatthe fourCausesofAction tbrNegligence are I)Defendantowed
   Legaldutyto useduecarev2)Defkndantbreached ThatDuty,3)Ddkndantsbreach ofThatDuty
   wasproximatecauseofinjurytoPlaintif-
                                      f,and4)Plaintiffsuf-
                                                         fereddamagescaused byThat
   Breach.The Plaintiffcomplainsthat DTGH Security/stafffailed to exercise a degree of
   reasonable care expected in orderto m inim ize the risk of harm to his person.'GrossF?c.
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   andpresent'//'     )t'?/negligeltcej.  $'sn- oss'-(Carrawavv.Revellll6 So.2d22-23).
   35. First,Plaintit-  fcom plains thatitw asnegligentfbrD TG H Security/staffto allow The
   M ale to continually attack The Plaintift-withoutinterruption w hile running in,out,and.around
   theirHotel(supra!6n7,8).Second,PlaintiffcomplainsitwasnegligentforDTGH
   Security/staffto w ithhold prom inent m aterialtestim ony from Law Entbrcem ent,after calling
   saidLaw Enforcement(supra!7),knowingthatwithholding thismaterialtestimonywouldlead
   to injuryuponThePlaintiffsperson(arrest).Plaintifrcomplainsthathisinjuriesofdetainment.
   and arrestw ere created by DefendantDTGH Security/staffgrossnegligence,in thatthey did not
   transm itthe m aterialtestim ony to D efendantsPhilippe and Lew isoofThe Nfales:continuous
   attack upon ThePlaintitàland thattheonly time ThePlaintiffprocured hisfishing knife wasto
   deter The M alesattack.Thisw'ithholding ofm aterialtestim ony can be intkrred to causing The
   detainm entand arrestofThe Plaintiff.Plaintift-w asn'tdetained untilafter Defendant-city'
   OfficerKennethLewisspoketo DTGH Security/stafftsupra!9).
   36. Asdescribedsuprainparagraph6:-IhefVtW/?##'while1.
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   hete'ilv t'
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                     Wt/t?walk (EXHIBIT41.
                                         'skclfrjy'(klmera#/tW?'
                                                               ?////
                                                                   'i'AlaproachtJ/16:44:24)9.
   DTG H Security/staffis aw are thatpassersby often use theirdrivew ay w hen the sidew alk-is
   congested orotherw ise obstm cted,usually by D TG H tratlscc.

   37. PlaintiffEX H IBIT 51:HotelEntrance Surveillance V ideo at l6:44:58 show sthe
   definitivemomentDTGH Security/staf-     fbecame aware ofthe situation causing thisaction atbar.
   Atthisexactm om entin plaintiffEX ITIBIT 41:Security Cam era PlaintiffApproach at 16:44:58
   DTGH Security/stafrwitnessThe Plaintiffbeing chased ot-   ftheirproperty and acrossthe street
   by The N'Iale.H ere,DTG H Security/staffdid notsee The Plaintit-fstqshing knitk because itw as
   stillin ThePlaintiffsbag (plaintifrEx-l-llBl'
                                               r 41:Security CameraPlaintiffApproach at
   16:44:55).

  lGhislain Fourquierisretkrredtoas-'l41eN'       lale-tlvoughoutThisComplaint.
  ZB3'trat-l'ic Plaintil'risreferring to the variousobstrudionstothe sidewalk emanatingfrom DTGH such astaxis.buseoaches.poolsof-people-
  etc.
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   38. The Plaintif-  f afterrtm ning away from The M ale across the street,wasable to retrieve his
   fishing knitk,and deterTheM ale.TheM ale then ran hostilely pastDTGH Security/stafrinto
   DTGH withoutinterruption(plaintiffEXHIBIT 51:HotelEntranceSurveillanceVideoat
   16245:30).ThePlaintiffcomplainsthiswasgrossly negligentbecauseDTGH owed him and their
   guestsa dutyofordinary careto attemptto deterTheM alefrom 'abuildilzg anger'o'.Atthis
   momentThePlaintit-fbegantowalkawayfrom DTGH headingnorth(supra!6),AsThe
   Plaintift-w alked aw ay north,you can see bystandersgathering north,w atching asThe Plaintiff
   putaway hisfishing knife (plaintiffExrl-lœ l'r61:SideCamera at16:45:30).AsthePlaintiff
   proceeded to leave north,aw ay liom D TG H .D TGH Security/stafr watched The N'
                                                                                 lale rtzn outof
   DTGH pastthem withoutinterruption-to chaseThePlaintit-f(plaintiffEXHIBIT 51:Hotel
   EntranceSurveillanceVideoat16:45:45)withglassesandbottlesineachhand.TheMale
   emptied thecontentsofthose glassesand bottlesdirectly in frontofDTGH Security/staff
   withoutinterference(plaintiffEXHIBIT 5l:HotelEntranceSurveillanceVideoat16:45:48).
   DTG H Security/staffm ade no attemptto deter The M ale and The Plaintiffcom plainsthatthis
   wasgrossly negligent,and,a dereliction ofordinary care.The M ale then threw the contentsof
   his hands atThe Plaintift-
                            ,as The Plaintit-
                                            fdodged the item s.The Plaintiffw ithdrew his tishing
   km ife again to deterThe slale,and The M ale created enough space to allow The Plaintiffto
   attemptIeavingDTGH again(plaintiffEXHIBIT 6l:SideCameraatl6:46:07).AsthePlaintiff
   attem pted to leave nofth,The N'
                                  Iale,re-started chasing The Plaintiff DTGH Security/staffagain
   made zero attemptto deterTheM ale(plaintiffExl-llBl'
                                                      l-61:Side Cameraat 16:46:28).The
   Plaintiffcom plainsthis wasgrossly negligent,and a dereliction ofordinary care,The Nfale ran
   untilhecaughtup withThePlaintiftlstartling ThePlaintiftlcausing ThePlaintifftodrophis
   cellularphone.The M ale picked up The Plaintiffsphone,sm ashed itinto the ground,and
   returned intoDTGH,pastDTGH Security/staffhagain,w'ithoutinterruption (plaintiffEXN IBIT
   51:HotelEntrance Surveillance Video at16:47:58).The Plaintif-
                                                               fcomplainsthatDefendant
   DTGH Security/staffactedwithgrossnegligencetnw'atching asTheMalere-entertheirHotel
   w ithoutinterruption,at-
                          ter,having consistently attacked The Plaintiff The Plaintit-
                                                                                     f suggests A
   Trier ofFactcan inferthatD TGH never attem pted to deterThe sz   lale,even offcam eral,then
   called Law Enforcement,and weregrossly negligentin relaying(Materialtestimony to said Law
   Enforcem entz,Here The Plaintiffhas provided m aterialevidence thatshow sD TG H had a
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      .
   39.      PlaintiffcomplainsthatDTGH caused injurytohispersonbycalling MiamiLaw
   Enforcem entand w ithholding O rdinary Care Responsibility ofrelaying the trtlthtkllm aterial
   testimonyandphysicalevidence(toDefendantts)PhilippeandLewis),thusshowing gross
   negligence.which lead to ThePlaintiffsdetainmentand arrest DefendantLewisin hissworn
   ArrestAm davit(plaintiffEXHIBIT 03:ArrestAm davit)describesthativideo.wf?-î'      i/j//t-l//cz
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   camerajkom the/fy/7/?.J?captured thej??(.
                                           '/t/e??/7.Thisreferencedsurveillancevideowasprovided
   to NliamiLaw Enfbrcem ent(D efkndantsPhilippeand Lewis)by DTGH Security/staff Plaintiff
   neverassaulted anyone,thus,Plaintiffcom plains D TGH negligently relayed/provided The
   M aterialsurveillance video evidence,in addition to,theireyew itnesstestim ony.

   40. Plaintiffcomplainsthataftercalling Nfiam iLaw Enforcem ent-D TGH Security Staff
   ow ed The Plaintiffa duty ofordinary care in relaying tndhfullnaterialtestimony and evidence.
   Plaintiffcomplainsthatitis unfathom able.that DTG H Security/staffcould have possibly
    '
    -1seeInlka !'41
    1Theslalesuecessfullyprocuredbottlesandglassesfrom withinDTGHtothrow atThePlaintitl'(supra4138)
    lDTGIISecurity Stal'
                       fprocuredthe-stlrveillancevideo-mentioned in.-
                                                                    trrest.-
                                                                           ttlidavit(plaintit
                                                                                            '
                                                                                            rF.XHIBI'
                                                                                                    I'03)used forprobablecauseto
    an-estPlaintil-f.
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   relayedthe correctmaterialinfbrmation by testimony'
                                                     ,orby physicalevidence,withoutgross
   negligence,becatlse,thatmaterialevidence,and testimony lead to The Plaintiffsarresttbra
   felony,J '*1117,
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                            h-tlm suchhkihtre',(PeelervIndependentLife206 So.2d34).ThePlaintit-                       f
   rejectstheideathatstaf-
                         fonaproperty,donothaveareasonablemoralduty,to relaytrue
   testim ony and physicalevidence to Law Enforcel nent.Plaintiff insists DefendantD TG H did not
   take reasonable stepsto deter,m inim izesand or,stop The M ale from an escalating violence.
   Thisfailureofaction,orordinary care,caused injuryto Plaintit-fpersonbywayofdamagetohis
   propefty.detainmentand arrest.

   42. The Plaintiff insists The M aterialEvidence he haspresentedpshow an entire course of
   conduct,thatunderallofthe circum stances,and in the lightofallofthe related factorstaken
   collectively,establish the existence ofgrossnegligence.Thus pointing to the conclusionathat
   DTG H knew ,or should have know n,thattheir conductin totalitypplaced The Plaintiff in danger.
   and,lead to hisdetainm entand arrest.Underallofthe circum stances,D TG H could be found
   guilty ofaconsciousindifference,orgrossly carelessdisregard to TheRightsofThePlaintiff '                       hl
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   preponderance ofthe evidence-and,Jn Ft.
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       /(?.j'(tfjlwlèzrt?to bedecided/?.
                                       ,
                                       pthe#/z>'',(Sturdivantv.Target464F.Supp.zd 596).Plaintiff
   requests a Jury Trial.

   44.       ThePlaintiffcomplainsthatDTGH wasthelegalcauseforhisinjuryofseizure
   (detainm ent)ofhisperson,and eventtlalarrest,and,thatdtlecarecould have prevented his
   injuries.PlaintiffwasdetainedafterDefendantPhilippespeakswithDTGH Securitymember
   supra!9.Plaintiffwasthenarrested.ThenegligenceofThe DefendantDTGH isdirectlyalegal
   causeoftheinjuriescomplained ofbyThePlaintiff ThePlaintiffcomplainsthatThe
   D efkndant'sactionsw ere so fàrbeyond society's delsnition ofwhatconstitutesreasonable
   behavior,thatThe D efendant's behavior is negligent on itsface.The Plaintiffcom plainsD ouble
   Tree G rand H otelow ed a duty ofordinary care to The Plaintit-f.'                .
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                                                s'basetl'(Spivey v.Battat
                                                                        .lia258 So.2d 8l5)and
   questions offactare to be decided by Triers ofFact.'
                                                      J Fezleral(W?/r/is z?rp/l()u'
                                                                                  frïkjr/'
                                                                                         /evidence',
   (Sturdivantv.Target464 F.supp.zd 5974
                                       .4(8.1).
   45. D TG H Security/staffhad been negligent in its active conduct.The Plaintiff
   acknow ledgesthatTheFindersot-Factwillfind activenegligencebased on The M aterial
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   Evidence presented atbar.Lz4ctik'
                                   (?pl(x /j,j%?
                                               //t/t?/?t)/related /t?the/J?-t????8'
                                                                                  t?5'(Hixv.Billen284 So.
   2d209)presentingaQuestionforTheJuryastowhy DTGH staffallowed TheMaleandFemale
   to attack The Plaintiff,and w hy.DTG H relay negligenttestim ony and m aterialevidence to
   M iam iLaw Enforcem ent,'  /??shltm ake,(
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   claimst???//3t?tz//t?q
                        gtJ#t?/?x(fJc//iv zlegligellce'(shumakev.Florida534So.2d 1l78).'
                                                                                       Plaintifr
   complainsDTGH derelictionofordinarycarecausedhim tobeseized(detained),arrestedand
   maintainedinjailed,seriousphysicalandemotionalinjuries,leadingtonon-economicinjuriesof
   lossoftime.emotionalanguish,htlmiliation,reputationaldamage,and lossofenjoymentof
   activitiessuch aswalking in publicplaces-and being around otherpeople.ln attemptto be made
   whole again from the seriousm entalgouging caused by Det-endant DTGH Security/stafr actions,
   Plaintiffseeksm onetary dam ages.

   Plaintifl-seeks colnpensation
   46.      Plaintit-fseeks non-econom ic com pensatory dam agesto m ake him w hole again from the
   depleting actionsof DTG H Security/statl-thatw ere particularly m alicious,and recklessupon
   The PlaintiffsLiberty and Rights,'the impactr?//t?does ??/.
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   23IF.supp.zd 1l99(15J).DTGH Security/stafrnegligentmaterialtestimonyto MiamiLaw
   enforcement,andaDTGH rejectingtheordinarycareinattemptingto stop,ordeterTheM ale
   from assaultuponThePlaintifftresultedinPlaintiffsillegaldetainment,arrest,prolongedjailing,
   and lossofLiberty.Plaintiffhaspresented materialevidence fbrTheFindersofFactto infer
   D TG H negligence atbar,w asdone w ith intentto cause harm upon The Plaintiff.Plaintiff
   complainsthis is extrem e outrageousconductw hich displayed a totaldisregard forThe Plaintit-f
   in anylegalfacet,including emotionally,Plaintift-wasimmediatelyseized(detained)after
   NfiamiLaw EnforcementspokewithDTGH Security/stafft!9,!(ll),thisinfersclear
   negligenceon thepal4 ofDTGH Security/staffto prudently relay M aterialtestimony.The
   m aterialtruth atbarisoDTG H Security/staffneversaw The Plaintift-com m itassaultupon
   anyone,In additionatàilure to even try,to stop The M ale from assaulting The Plaintiff D TG H
   Security/staffalso procured TheM aterialtsurveillancevideo'mentioned in plaintifrExY lBl-    f
   03:A rrestAftsdavit.This M aterialV ideo had to be provided in a negligentm annerbecause
   Plaintiffw as arrested forassault,and said video w'asused as probable cause.Forsaid negligence
   Plaintiffsuffered immediateemotionalinjury,inattempttonarratetheseverityofthisinjury
   Plaintiff equates itto slavery.Plaintiffw asreporting hisdam age cellphone-wasdetained in
   handcuffsfordoing so-and arrested dueto DTGH Security/staffnegligence.Plaintiffdescribes
   slavefy asconscioussightofthe step by step illegaldealth ofhis Liberty.Forthis em otional
   anguishPlaintiffseeksmonetary damages.
   48. The Plaintift-seekscom pensation forthe hum iliation he sut-fered as a restlltofthe actions
   ofDTGH Security/staff Plaintiffendured routine strip searches afterhis incarceration as a result
   ofD TGH negligence.DTGH Security/staff had m any opportunitiesto stop orattem ptto deter
   The N'
        lale priorto The Plaintiffscellularphone being broken,which is w hy The Plaintiffstayed
   tomakeareportwithN'
                     liamiLaw Enforcement(supra!7).The Plaintiffattemptedmanytimesto
   leave during the contkontation w ith The M ale,during this tim e,DTG H Security/staff had an
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   ordinary duty ofcareto attemptto deterThe(Male.yetdid not,DTGH Security/stat-     fhadan
   opportunity to give non-negligentmaterialtestim ony and physicalevidence to M iam iLaw
   Enforcem entw hich would have deterred Plaintiffs arrest.A sa resultofthis ordinary care failureo
   Plaintiffwasinjured byrepeatedhumiliation duetosaidstripsearcheswhilehewasarrestedfor
   the eventsatbar.D TG H staff/security did notrefrain from causing intentionalharm to The
   PlaintifrresultinginnegligenceliabilityunderFloridaStatute768.075(3)(b).Sunreillance
   evidence presents'factissue'asto w' hetherD TG H staftlsecurity w ere negligent in failing to take
   sutlicientprecautionsto alleviate the grow ing situation thatarose on it'sproperty betw een The
   Plaintiff The M aleand TheFem ale.Underlaw-precedencestandsthataissuesoffactareto be
   decidedbyajury.PlaintifrcomplainsthatasaresultofDTGH negligence,heno longerlikesto
   takewalksandbearoundpeople,thisinjuryasadirectresultoftheNegligentactionsofDTGH
   Security/staff.ThePlaintif-
                             fseekstobecompensatedforthisgouging ofhisenjoymentofpeople
   and life.W eseea directcorrelation betweenDTGH,ThePlaintiffsarrest,and hissaid resulting
   injuries.
   49. Plaintift-seeks lossoftim e dam agesand punitive dam agesdue to D TG H Security/stat'r
   egregious w'rongdoing,thatw asgrossly negligent.Plaintiffspentalm ost3 yearswriting
   com plaintatbar.Plaintiff-w-ished to be com pensated forthisLoss ofTim e.Punitive D am ages,
   DTG H Security Stafrshowed extrem ely reck-lessdisregard forthe Rights ofThe Plaintiffatbar.
   The M aterialEvidence atbaralso show sthatDTGH Security/staffintentionally caused The
   Plaintift-sinjuries.FloridaStatute768.72(21states,--4é#A/lt/t/??/mqvbeheldIiable/t?rputtitib'                             e
   dam ages 0/2/:ift.,   . hetriertp././?fc/,based tp/,   /cleartz/lt. /convincing evide'lce,..      #z?t/5'thatthe
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    768.72 (a)states,%hltentiollalA/0-        $'
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    768.72 (3'     )states,Qhl//?t?ct.    zse t?/'f,
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   yalz/zj/j1,E?dam agesp/l).  .
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   directors,or/'      l?t.
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   (.'t?/lt#?zlett rati fieJ f?rconsenledto.          wf(?/)conzlltct'.Nlaterialevidenceprovided suprahereina
   show an entire course ofconduct,thatunderallofthe circum stances,and in the lightofa1lofthe
   related factorstaken collectively,establish the existence oflntentionallntliction ofEm otional
   Distress(supra!46,!42,!43).
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   STAT EM ENT O F M AT ERIA L ISSUES O F FA CT;causinm T H IS A C TIO N for
   DAM AGES;asRELATED TO DO UBLE TREE GM ND H OTEL (DTG H)and
   O FFICER K ENNETH LEW ISIand W A NDLER PH ILIPPEIfor42 USCA x       51985(3)
   C O N SPIM C Y '

   50. ûElenlentvt?/'t'   /cijilctv/-î/Wrt-
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     pan ?/??/mt'
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   rlfr-
       swtr??/tpthectp?/.
                        s'
                         /srfzg,
                               '-,(FloridaFernv.Concerned6l6 So.2d562).(Carpentersv.Scott77
   L Ed 2d 1054),(Evansv.Chichester533 F.supp 2d 523).DefendantPhilippeand Lewisare
   required by City ofM iam iPoliceDepartmentPolicyto articulate fàctsto supportdetainm ent,
   and arrest.DepartmentalOrder1l.Chapterl.7Field lnteniewsstates,-om cersz???z.        s'
                                                                                         /betd/l/e'/ty
   articulatefacts/tnslql
                        porttheJe/tv?//twlllnder,g?/jt7
                                                      /t?/@z?t
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                                                              î'.#aralegal.
                                                                          ç/t#?andjkiskJzM/mustz?t'>/
   acttpathe&I. WA'Lfa/'?lf?2c/7',AtbarPlaintiffwasimmediately detained afterDefkndantPhilippe
   hadaconversationwithDTGH Securitys'lember(supra!9),Triersoffàctcaninferthatthe
   inforlnation D TG H Security/stafrgave to DefendantPhillippe overtly procured The Plaintiffs
   detainm entothisism ore m aterialnow because w e know thatthere is no M aterialEvidence that
   existsto supportThe ArrestofThe Plaintiff-atBar,thus,itcan be inferred thatthe intbrm ation
   D TGH Security Staffgave to D efendantsPhilippe and Lew is w as overtly m aterialto The
   PlaintiffsdetainmentandeventualArrest.Theûsurveillancevideo'mentioned supra!9,provided
   to DefendantsPhillippeand LewisbyDTGH Security and Staftlwasused overtly in a
   conspiracy to cause dam age to The Plaintiffs person by w ay offalse probable causeto arrestThe
   Plaintifllthearticulatablematerialfactssupraat!37-39,donotlackmeritforfavorofplaintiff.
   51.       DTG H Security/staff srstw itnessed the eventsatbarseeing The M ale in pursuitofl-he
   Plaintiff(supra!37),(EXHIBIT 51:HotelEntranceSurveillanceVideoat16:44:58).Atthis
   exactm om entitcan be seen in plaintiffEXH IBIT 41:Security Cam era PlaintiffsA pproach at
   16:44:58 w hatD TG H Security/staff are responding to'
                                                        ,they are responding to The Plaintit-f
   being chased from D TGH property acrossthe streetby The M ale.ltcan be inferred by The
   TriersofFactthatDTGH Security/stafrfirstbecameawareofthe eventsatbar,atthismoment,
   and-atthism oment,The Plaintiffisbeing chased by The M ale.Atthis m om ent,The Plaintit-f
   hadnotretrievedhisfishing knife,and isretreating (supra!6).Here,itcanbeinferredDTGH
   Security/stafftsrstw'itnessed ThePlaintiffbeing chased.AtthismomentTriersofFactcan infkr,
   DTGH Security/staffcould/shouldhaveidentitqedThePlaintif-
                                                           fasTheNon-Aggressor(victim),
   andTheM aleasTheAggressor)Plaintiffsmaterialevidenceasseen supra$16-9,showsthat
   DTGH Security Staflland DefendantsPhilippe and Lewis.willnotbeableto providearticulable
   m aterialinfbrm ation to supportPlaintiffsdetainm entand arreston said charge ofûassault with a
   deadly weapon',thuscreating 'ovel't'action ofillegaldetainm entand false arrestthrough fàlse
   testim ony and m anipulated m aterialevidence in said surveillance video.

   52.       DTGH Security/staffwatched asTheM alecontinually attacked The Plaintifftforcing
   ThePlaintifftomakehistsshingknitk visibleasadeterrent,supraat!137-39.Asdescribed in
   paragraph 7,afterThe M ale broke The Plaintiffscellularphone,and canceled his attack upon
   The Plaintift-,The M ale disappeared into DTGH ,and D TG H Security/staffasked The Plaintiffto
   '
   justleave'in responsetoThePlaintit-finsisting onreporting hisbrokencellphoneto5
                                                                                 ''
                                                                                  liamiLaw
   Enforcement(!J7).ThePlaintif-frefusingto' justleave'odecidedto waittomakeapolicereport
   tbrhisbroken phoneabecauseThe Plaintif-fknew thatThe M ale and Femalehad retreated into

     'Suedintheir-individtlalcapaeity'.
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   DTGH (plaintiffExq-llBl-
                          f 5l:HotelEntranceSurveillanceVideoatl6:47:59),runningpast
   DTGH Security/stafftwho told PlaintiffTheM aleand Female had Ieft.ThePlaintiffwaited with
   DTGH Security peacefully forM iam iLaw Ent- orcem entto arrive.W hen DefendantLew isand
   Philippe ofM iamiLaw Enforcementarrived,and spokewith DTGH Security/staffoutofthe
   hearing ofThe Plaintiff,M iam iLaw Entbrcem entO fficer,D efendantPhilippe told The Plaintiff
   to'
     justleave',becauseTheMaleandFemalehadleft,thisbeing acarboncopyofwhatDTGH
   Security/stafrsaidtoThePlaintit-f(supra:7).Plaintift-insiststhatbecauseDTGH Security/statT
   knew thatThe M aleand Female assailantshad notlet-taand,becauseDefendantLewis
   handctlffedanddetainedThePlaintiffimlnediatelyaftertheconversation(supra!9)w'ithDTGH
   Security N'
             lem ber,thatD TG H Security/staffovertly presented 'false m aterialverbalevidence'to
   DefendantPhilippeothatefrected The Plaintit'
                                              rsimm ediatehandcufxng and detainment.we see
   DefendantsLewisand Philippeplaytheirrole in theconspiracy by arresting ThePlaintift-against
   the m aterialevidence.

   53. PlaintiffcomplainsthatDTGH Security/staffinorderW7obstructctp//zwtzftjjuxtice'
   (Sykesv,StateofCal497F.2d 197 (l974))decidedto discriminateagainstThePlaintiff
   resultinginmentalinjurytoPlaintiffbyillegallyseizing hisPerson-denyingThePlaintiffof
   EqualProtectionofLaw (!99),andpreventinghim tiom exercisinghisConstitutionalRightto
   DueProcessofLaw (makingapolicereportconcerninghisbrokencellphone)underThe
   Fourteenth Amendment.Atal1timesDefendantts)LewisandPhilippe,inf'ullCityofM iami
   uniform pw ere acting underThe Authority ofThe Colorof-rhe Law '
                                                                  ,The Plaintiffinsiststhat
   TheTriersofFactwilldetermineorinfer,thatDefendantts)Lewis,Philippe,andDTGH
   Security/staffobstructed The CourseofJustice(dueprocess)with intentto discriminateagainst
   ThePlaintiff(EqualProtectitnn),becausehewantedtoreporthisbrokencellphone.
   54. 42 United StatesConstitution :            %1985 (3)' .'Jz?orderto rôctn3vr#v conx   spiracy /tpdeprive
   ;p/t-/jz?/f//'f?/'ciW/rights/p/(
   .                               ;#z?/#./'j-
                                             $required /taallege//)tz/theylp/c/t'
                                                                                zjv ('
                                                                                     ?fthec'twzsrjzwqyl. fwss'/tp
   depl'ive#/Jj/?/j     # o/'cg?/J/#ro/cc////),privilege- b'J?'
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                                                                                                           ilegef?/'t'/
   (lnited 5'/tz/a5'citizen',(Svkesv.StateofCalifornia497F.2d 197).Asdescribed suprain
   paragraph9,DTGH Security/staffescortedDefendantsLewisand Philippe into DTGH to
   procureTheAssailants.DefendantsLewisand PhilippereturnedtoThePlaintiftlreferredto
   surveillancevideofootage(plaintiffEXHIBIT 03:ArrestAftsdavitatûnotes'),andtold The
   Plaintiffhewasbeing arrested forûaggravated assaultwith adeadly weapon'(F1a Stat
   784,021(l)(a1),(supra!9).ThePlaintiff-complainsDefendantsKennethLewis,W andler
   Philippe-and DTGH Security/statàlmaliciously used thism aterialsurveillance footagefor
   probable causeto illegally arrest The Plaintit-fbecause he w anted to m ake a police report
   concerning hiscellularphone(EXAHIBIT 50:InternalAffairsStatementofOm cerKenneth
   Lewisat7:45).No known security footage supportarresting ThePlaintiffforthe identifsed
   chargeasseensupraat1)  1l2,23.Atparagraph26supraweseethe-special'relationshipbetween
   Defendants Lew is,Philippe and DTG H Security/staff.The Plaintiffw as acquitted for said
   chargeoas none ofThe D efendantspresented any m aterialevidence to supportsaid charge.
   Plaintiffcom plains this m anipulation ofm aterialevidence Nsas an overtactin furtherance oftheir
   conspiracy to illegally have The Plaintift-arrested forattempting to m ake a police report
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   concerning hisbroken cellphone.thusadenying ThePlaintiffTheEqualProtection oftheLawn
   infavorofTheM aleandFemaleathus-ObstructingTheCourseofJtlstice(DueProcess).'
                                                                              Att,
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   cotvpired togethel'',(Nlatthewsv.InternationalHouseofPancakes.lnc597F.Supp.zd663).
   55.       'con-
                 sllirators tzc/ev/kvith the requisite rtzc&# (.
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   discriminatoly t7z?j>???z.
                            s'',(Sandersv.City and County 226 Fed.-
                                                                  Appox.607,certioraridenied (28
   S.Ct.508/169L.Ed.2d.368),(plaintiffEXHIBIT 52:InternalAffairsStatementofofficer5V,
   Philippe at10212).Plaintit-fbelievesTheTriersofFactcaninfer,thatDTGH Security/staff'
                                                                                      !who
   never having seen This Plaintiffas The Aggressor-in review ing video stlrveillance w'
                                                                                       ith
   DefendantsLewisand Philippe,maliciously,cooperatively determined,ThePlaintit-      fasThe
   O ffender,denying The Plaintiffthe processthatw asD ue.D efendantsdenied Plaintit-  fEqual
   Protection ofThe Law in partbecause The Plaintiff-insisted on holding The M ale responsible fbr
   break-ing his cellularphone.A sim ple review ofplaintit-
                                                          f EX H IBIT 4 l.
                                                                         'Security Cam era
   Plaintift-
            s Approach at 16:44:36 w illhave show n DefendantsD TG H ,Lew is.and Philippe that
   ThePlaintiffgotintoaverbalaltercationwithTheFemale(plaintiffEXHIBIT:lnternalAffairs
   StatementofOfficerKenneth Lew isat5:20),attempted to walk away,and wasattackedbyThe
   Female.Plaintift-EXHIBIT 03:ArrestAtlidavitstatesoLhe/p?///(W up hi.
                                                                      %shirt&)expose//Jt?/c/lY/
   that/?e had /??hispants'.Plaintifr clearly did nothave on a shirtndid nothave a knife in his
   pants,and did notattemptto physically attack her,Thematerialnature ofthe Lsurveillance
   video'overtlymanipulatedbyTheconfederatedDefendants,causing injurytoThePlaintif-f
   because he wanted to m ake a reportconcerning hiscellularphone.

   56. D etkndants Kenneth Lew isand NvandlerPhilippe having neverpreviously m et The
   Plaintiffw ould 'reasonably'have no reason to deny The PlaintiffDue Process and Equal
   ProtectionofTheLaw,exceptforclassbased,orotheranimus(plaintiffEXHIBIT 52:lnternal
   AffairsStatementofOtlscerW .Philippeat l0:12).TheTriersofFactcan inferfrom The
   '
   M aterialEvidence racialorclass-based anim us,The Plaintif-fdoesnotbelieve O tNcerKenneth
   Lewis,W andlerPhilippe and DTGH Security/staftlcompletestrangers,would distortthetruth,
   effectuating The Plaintiffsarrest,w ithoutracialorclass-based anim us.Plaintiff EXH IBIT 52:
   InternalAffairsStatementofOfricerW .Philippe at 13:56,DefendantPhilippe states,-(The
   A/tz/trlobsenxdthe,
         .           5'??5/Jëc/#?z///?(gaJ7?#/t?t??//'.DefendantPhilippe,afterhearingThePlaintiffs
   versionofevents(supraat!6-8)unreasonablydecideditwasreasonabletobelieveTheM ale
   assaulter/witness(supra!,
                           J25),whicha1lTheM aterialEvidenceprovidedby DTGH
   Security/stat-
                fproved false.

    57. 'llrditlaril*    'y.//z/tzre'c6lllbe??o&?Jt?#E
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   /Jf?u':r6tltj??t,
                   'ividltalwt'
                   /             )!?/J'??t?/possess ///e?1conspiracvitselfhectpzpt
                                 .                                    -                   dxall/??t/k?.
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   alldctlërcjtv?//'  ?z.
                        t??/g/?ltttmbersordctvlta-/cillfhlelwe',(Churrucav.54iamiJai-AlaiInc353
   So.2d 1025).DTGH Security/staffhad an opportunity to materially testifk
                                                                         . to Defendantts)
   Philippe and Lew isthatThe Plaintift-w as never The A ggressor.D TG H Security/staffalso had
   the opportunity to non-negligently provide surveillance video,and,Defendants Philippe and
   Lew is,had the opportunity to properly articulate The M aterialV ideo Evidence provided by
   DTGH Security/staff.ltmustberemembered,Plaintiffwasilnm ediately detained after
   DefendantPhilippespokewithDTGH Security/stafftsupra!9),andbothDefendantPhilippe
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   andDTGH Security/stal-faskedThePlaintit-fto bjustleave'(supra!7,9)andnotreporthis
   broken cellphone.W rith mutualunderstanding-and com bined confederated actions,Defendants
   Lewis,Philippe,and DTGH Security/staffconspired to falsely accuse The Plaintiffof
   aggravated assaultwith adeadly weapon to procurehisarrest.TheDefkndantseflkctively
   conspired to improperly investigate,tàlsely accuse,manipulate materialevidence,and
   maliciouslyprompttheprosecutionofThePlaintit-fthrough'thezpezuz/ïztt
                                                                      .
                                                                      rt?
                                                                        /?pj/'
                                                                             ?t&',(Goldv.
   Patch686F.2d582).ThePlaintiffbelievesthattheverynatureofTheM aterialEvidencewould
   leave The TriersofFactto inferthatThe Plaintit-
                                                 fsfklse arrestwould have unlikely been
   undertaken w ithoutan agreem ent/m eeting ofthe m indsbetw een those identised as
   Conspiratorsby The Plaintiff,because tthe totalitynofthe m aterialevidence doesnotsupportthe
   an-estofThe Plaintiff.D TGH Security/staffprovided false m aterialtestim ony and physical
   evidence,whileDetkndantsLewisand Philippeused theirauthority ofLaw to eflkctuate The
   Plaintif-fs arrest,knowingly'using said false testim ony and evidence.

   58.      Itcan also be inferred by The Triers ofFact,thatD TGH Security.w hile speaking to
   DefendantsPhilippeandLewis,togethermaliciously deduced,thatThePlaintifrshould '
                                                                                 just
   leave',because The Plaintiffs issue concerning his cellular phoneaw as nota plausible priority,
   '
   IitigantsJltzvcac'tv/x/jp//jopt'
                                  d/righttohavejuriesdecidej-
                                                            çswt!.
                                                                 sqffact'nHowardv.M acDonald
   85lA.2d ll42(20041.Defendantsts)KennethLewisand W andlerPhilippe,withmalicious
   intent,agreed w'
                  ith DTGH Security/stafllto accuseThisPlaintiffofAssaulting TheFem ale
   creating a conspiracy to arrestThe Plaintifffortrying to reporthis broken cellular phone.


   59. The Plaintiffbringsthis42 USCA ï'1985 (3)claim againstTheDefendantshaving
   overcom e the 'lntercorporate Conspiracy D octrine'which holdsthatactsofcorporate agentsare
   attributed to the corporation itself In case atbarnDelkndantCity ofNliam iO ftscerK enneth
   Lew isand OfficerW andler Philippe,w ho here,are being sued in their individualcapacity tbr
   conspiracy,and.havingconspired withnon-municipalpersons(DTGH Security/staft),have
   acted 'outside'the protection ofThelntercorporate Conspiracy Doctrine,(Denney v.City 247
   F.3d l176).
   60. The Plaintit-fbringsthis42 USCA t'1985 (3)action having defeated any possibility of
   DefendantOfficerKennethLewisand W-andlerPhilippeclaimsto absoltlteorqualitied
   im munity.ltA???z.s/bet.
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                                                                                   ro-fej-hcietty'(Belvealv.Bray
   253 F.stlpp609(3J),itisofnomysterythatDefendantts)KennethLewisandW'andlerPhilippe
   in case atbar-have acted outside the scope oftheirauthorized om cialdecision-m aking and
   duties.Further,ThePlaintiffhaving provided,shown,and spoken of,M aterialFactualEvidence
   ofConstitutionalviolationscom m itted againsthim by The D efendants-w ere actions were
   objectivelyunreasonable,rejectsanyassertionthatDefkndantsLewisandPhilippecanclaim
   Qualitqed lmmunity,'?/)c5'          t?tW#è//t,  izz//s'haj'et, 4ttlttzli
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                   ?xasthey ///'   ?t,
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   it?flictezlj/?/t?z//jtw?t.
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                            J/.
                              )?llpotl//?t?p/tW/?/jf/,      -(Cobbv.CityofN'      lalden202F.2d 70l).
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   61. Fla.Stat768.72 (2)(a):tintentionalmisconduct'aQmeallsthattheJt/tvllte                     z?l/hadactual
   éwow/et/gcf?/'thew'    rrvl,
                              gfll/zltr.
                                       ç.
                                        s'(tfthectv/tâ/c/andthehighprobability that/?#?/ry orc/tz-tzgeto
   thec/tzjzptzn/n' ouldresulttzz< deu       spitethat/cz?tm'/e?(/.
                                                                  gc,intelltioltallypursued thatcfplzrxeof
   conduct,re-  w////zlg in &#?z?:yf>rdamage.?
   Fla.Stat768.72(2)(b):tGrossNegligence'oQmeansthatthet.                   g-ft/lll/?/'
                                                                                       scopt/l/c/u' a5'soreckless
   orw'an/j??g jz?carethatitconstituted tzconsciousdisregardo?-ind#ereltce&?theIfe,safety,or
   rightsofpersonsexposed tosuchcontWfc/.'
   Fla.stat768.72 (3):In the caseofanemployer,principal,corporation,orotherlegalentitya
   punitive dam ages m ay be im posed forthe conduct ofan em ployee or agentonly ifthe conductof
   theemployeeoragentmeetsthecriteriaspecified insubsection(2)and:
   Fla.stat768.72(b):Theom cers,directors,ormanagersoftheemployerpprincipal,corporation,
   orotherlegalentity know ingly condonedpratifiedaorconsented to such conduct,
                                                                              '

   62.      Plaintiff seekscom pensatory and punitive dam ages.Plaintiffseekscom pensatory
   damagesforTheIntentionallyIntlictionofEmotionalDistress,anxietyalossofenjoymentoflife,
   lossoftime,andhumiliation.Plaintiffseekspunitivedamagesfrom DTGH (see!61supra)and
   DefendantsPhilippeand Lewis,fortheirintentionalconspiracythatinjured Plaintiffcausing
   dam age.Plaintiffcom plainsthatThe TriersofFactw illinferfrom the m aterialevidence atbar
   tintentionalmisconduct'(supra!6l)todisregardPlaintiffsHumanity Liberty,andRightsunder
   The Constitution.Plaintifrw as hum iliated by said Conspiracy.Plaintlff first sim ply defending
   himseltrwasarrested in sightofmany bystanderswho werenoteven questioned by Defendants
   Philippe and Lew is,thisw asextrem ely hum iliating for PlaintiffaasPlaintiffattem pted
   throughoutthe confrontation to w alk aw ay from The M ale,supra atparap-aph 6.7.Plaintiffw as
   drastically humiliated by said Conspiracy because he w as innocentaeverybody knew it.and w as
   arrested'
           ,thismadePlaintiffhum iliated,embarrassed,and haselim inated Plaintiff'will'to watk
   alongthatpartofBiscayneBayParkwhereheenjoyedwalkingeveryday.Plaintifrwishedtobe
   com pensated forthis hum iliation.

   63. Plaintiffhasdeveloped anxiety asaresultofsaid Conspiracy effectuatedby The
   D efendants,As stated supra atparagraph 62-Plaintiffno longer likesto w alk in Biscayne Bay
   Park due to hisnow developed anxiety.Plaintiffhasdeveloped an obviousdistrustofl-aw
   Enforcement,andtheenjoymentofshoppingcenters,hotels,grocerystores.and allotherplaces
   thatmayhavecrowds.Plaintiffhascompletely losthisenjoymentofDowntown Metropolitan
   Areassofwhich,Plaintiffusedtofindtremendousjoy.Plaintiffhaslosthisenjoymentforbeing
   around peopleand having conversations.Plaintiffhasdeveloped ageneraldistrustofpeople,
   w hich isthe obvious result ofconspiracy such as atbar.The distressThe Plaintit-fhas acquired
   asa resultofsaid conspiracy hasforevernegatively changed the litk ofThe Plaintiffwith regards
   to hisrelationship with people.Plaintiff seeksto be com pensated forthis Distressw hich has
   dramaticallydecreased PlaintiffsEnjoymentofLifeaswouldbeexpected
   64. Plaintiff seeks dam agesforThe Loss ofTim e ittook w riting Com plaintatbar.Plaintiff
   spentalm ostthree years writing com plaintthatwould yield no benefitto hisConstitutional
Case 1:21-cv-20635-DPG Document 1 Entered on FLSD Docket 02/16/2021 Page 29 of 46




   vindication ifPlaintifrm is-read,mis-wrote,mis-calculated datesto tile,orcasesto quote.It
   takesone sentence to w rite 'Plaintiff spentalm ostthree yearsw riting com plaint',how everthe
   reality isPlaintiffm issed work opportunities,family events,in exchangeforreading legalcasesa
   theories,and writing,re-w riting com plaintatbar.Plaintiffreliving foryearsthe events that
   captured hisLibertysreliving foryearstheeventsatbarthatillegally denied hisf'     reedom .The
   Plaintiffseeksto be com pensated forthisLoss ofTim e.Plaintiff seekspunitive dam age from
   DefendantsPhilippe,Lew is and D TG H because their actions w ere tintentional'.Florida Statute
   768.72(2)states,GX dtr
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   768.72(b)statesp-Jirossr'           /t?.
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   64b. Plaintift-com plains D efendant DTG H hasviolated USC 42 s
                                                                 %1983 by using The Authority
   ofThe ColorofLaw to cause Plaintiffto lose ConstitutionalRightto Liberty w ithout
   unreasonableintrusionby law enforcement(4'l'Amendment).Plaintiffcomplainsthat'the
   specific contacts'described supra,illustrate a very close relationship betw een M iam iLaw
   Enforcem entOfricers who Acted UnderColor of Law ,A nd D TGH Security/staff Plaintiff
   com plainsthatin eftkct,DefendantDTG H Security/stat-focalled M iam iLaw Enfbrcem ent,and
   had him illegally arrested.
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   STATEM ENT O F M ATERIA L ISSUES O F FACT;causint THIS ACTIO N for
   M O N ETA RY D A M A G E S.as RELA TED TO TH E CITY O F M IA M Ifor:Failure to
   superviseo/train lnternalA ffairs Investieators.fresultinz into a know n unw ritten Dolicv or
   icustom '.ofdeficient lnternalAffairs Investieations.thatvalidate non-conform ance to
   DepartmentalPolicv)Ieadina toviolation ofPlaintiFsConstitutionalRizhtto Due Process.
   and LibertvsRem edied bv 42 U .S.C .:1983 ofThe United States Constitution.PlaintiF
   seelksM onetarv Dam aeesforhisiniuries.
   65.      In 2002 TheCivilian lnvestigative Panelwasestablished in February,by City Ordinance
   12188,toactasindependentcivilian overji4htofswornmembersofTheM iamiPolice
   D epartm ent,and to independently review and/orinvestigate com plaintsm ade against sw orn
   Officers.In Nlay,ofthatsame year,TheUnited StatesDepartmentoflustice comm enced an
   Investigation into D efkndant tcity'Police D epartm entatthe requestof,then,City ofNliam i
   M ayorM anuelDiez.and,City ofNliam iChiefofPoliceRaulM artinezwho bothwroteseparate
   Iettersto The United StatesJustice D epartm entasking them to lnvestigate the policiesopractices,
   and procedures oftheir Police D epartment.The Plaintiffw illshow infranhow these tw o agencies
   (TheCivilian lnvestigativePanel-and,The United StatesDepartmentofJustice)have
   consistently put Defendant icity'ofM iam ion N otice of.Deficientsupervisiono.thus lack of
   con-ective training-w ith regard to lntem alAffairslnvestigationsconducted by The Police
   D epartm ent-leading to casualpractice of-uncorrected-thusvalidated-violations ofDepartm ental
   Policy-and-The FederalConstitutionalRightsofThePlaintifft'Publicl-    'creating a tcustom 'of-
   validatedcasualnon-compliancetoPoliceDepartmentalPolicv.QHistoric6llly,theq                      jrs,
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   67).
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   67.       ForDefendant'City'to be liable atbarforfailureto superviseortrain itspolice officers-
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                              /supervise/z?p.
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   nvith w/?tvpthepolicecomej??/o conlact,'(American v.M ianzi650 F.Supp.zd 1270 at(10-13J).
   O n April25,2019 The Assistant Executive D irectorofThe Civilian lnvestigative Panelw rote to
   Defendant'City'ChiefofPoliceJorge Colina,with regard to ThePlaintiffsInternalAffairs
   lnvestigation,(EXHIBIT 20.  'C.I.P (4-25-19)4-l6-l9 PanelM eeting).ChiefColinawas
   informed in this letterthatThe Plaintiff feels ùlnternalzlf/t
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         DFailureto -supervise-isdistind lkom the'custom unwri
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        supervisealone catm otconstitutea 'custom '.
        llntiaparagraph67Defendant-city-PelikreSupcxrvisorJestlsIbatmeaarbitrarily deniesPlaintit-
                                                                                                 fanlnternal.'
                                                                                                             ttlàirsInvestigationusing--I1:e
        lhocessthatwasDue'.Thisdeliberatedenialwasin violationofknownDepartmentalPolicyandPlaintitlkRighttoDueProcessofLaaw.
Case 1:21-cv-20635-DPG Document 1 Entered on FLSD Docket 02/16/2021 Page 31 of 46




   s/
    lemorandum 9-10-l8)didn'tmentionThePlaintiffsfalsearrest,and,thatThePlaintif-ftkltThe
   swornArrestAflidavitiscomposed ofQall//t.
                                           75,:(supraat! 10),(plaintif-
                                                                      fEXHIBIT 45.
                                                                                 .IA
                                  .22-14:22).In responseDefendanttcity'Police Supervisor,
   StatementOfCom plainantLC at 13.                               .


   NlaiorJesuslbalmea,CommanderofInternalAffairsSedion,wrotefbrChiefColinainplaintif-                        f
   EXHIBIT 2l:ChiefColinaresponse4-16-l9C.I.Ps'Ieeting,Glj           fthev/tz/ca4//tpr??t?
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   HereDefendantvcit3, 'nStlpervisorJesuslbalmea showsdeliberate indifferenceto suspected
   violation ofDet-endant-city'Police D epartm entalPolicy,and ConstitutionalRightofPlaintiffto
   a LDue'lnternalAffairslnvestigation.H ere,w e see the validation ofthe perform ance of
   Det-endantsPhilippe,LewissandlnternalAffairslnvestigatorswhen MajorJesuslbalmeadidn't
   require his subordinates in Defendant-cit3,
                                             z'Police lnternalAffairsto investigate Qthe -
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   ofThe Plaintit-f per Defendanticity'Police Departm entalO rder 2.Chapter 1.lw hich statesv-J??
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                                    vb'based f  .
                                                #?.#M'/-,(SturdivantvTargetCorp464F.Supp.zd 600)-
   (Byrd vBlue Ridge 356 US 525).
   68. Supra atbarD efendant -city'Police Supervisors also showed deliberate indiff-erence to
   Departm entalPolicy resulting into ConstitutionalV iolation in paragraph l2,D etkndant tcity'
   Police O t-
             tscerK enneth Lew is's SwonzArrestAffidavitcontained im properelem ents and
   m aterialevidence w as nojcollected-both ofwhich should have been identified by Det-endant
   ûcity'Police SupervisorperDefendantûcity'DepartmentalOrder l1.Chapter 16.4.29.Here
   accountabilityfailsatmultiplelevelssee! l5,16,l7supral.
   69. ln 2003 The United StatesD epartm entofJustice wrote to D efendant Qcity-,a Technical
   AssistanceLetter,in responseto TheRequestf-
                                             fom D efendanttcity'M ayor,and Defkndant
    tcity'ChiefofPolice(!65)whichstatedinpart:Q-                               H PD illvestigatorsrf.   ??//j?'
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    Fec/vHctz/Assistance1t?//cr-              ).Atbar,plaintiffEXHIBIT 52:InternalAffairsStatementof
   Om cerW .Philippe at6'    .l4,D efendantPhilippe isasked,Cdoyou rem em berseeing the cell
                                     &,that,//?c.),
   r/vtlwtr.&belonging to M r.Ct///FJ.            ?were damaged/' D efendant Philippe responds,Q1do
   /24)/recall/'PlaintiffEX H IB IT 52:lnternalAffairsStatem entofO fficerW .Philippe at 7:20.
   Defendanttcity'lnvestigatorasksDefendantPhilippe,L//ou'     ,asfarLzî'thectr//r/lt#?cs'-yt??/don't
   rem em ber srcjp,gthem,#om >?
                               tyl/rrecollectiolîofthejzlc/JEvl/.
                                                                ?'DefendantPhilipperespondsaQI
   Jtl
     w '/remem ber u,WJ/duhm ,whatwtz$'the condition,1 rem em ber A't?cjzlp the cellphone,.ye!5'.f*
   LateratplaintiffEX HIB IT 52:lnternalAfrairs Statem entofO fficer W .Philippe at 8:l8,
   DefendantPhilippe is asked,*did att'w>.
                                         'm onten'tM r.(RV//z?.
                                                              $state //M7/the cellphones wtrre
   dam aged /7.y someone'
                        ?'D efendantPhilippe responds,t/d()rem em ber the sllspectA??tv?/jt?l?

        'ConstitutionalPolicing.-tgreem qmtz(.)f20l6putDefendant-citl.
                                                                     '-onNotieeorSupervisionneededonmultiplelevels.
        zNlareh 13-24)()3D()JTeeh .Ast.LetterisPlaintit'
                                                       fEXIIIBIT 17.
Case 1:21-cv-20635-DPG Document 1 Entered on FLSD Docket 02/16/2021 Page 32 of 46




   something aboutthedamaged cellpholtel.'PlaintiffEXHIBIT 50:lnternalAFairs Statementof
   O m cerKenneth Lew is at7:42,D efendant Lew is is asked by Defendant 'City'InternalAffairs
   lnvestigator,'Once ?z/4,propert      y wtz5'takelt,M r.1//3Collins wt-
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   Jïte/oy'
          c,l/zlo//cc they'
                          p/ltyzyex dam aged,'D efendantLew is im m ediately responds,'yes!'Here w e
   see.asidentifiedby TheUnited StatesDepartmentofJustice(suprathisparagraph)aseeming
   carbon copy descriptionaofinconsistentom ceraccounts,glaring om issions,and conflicting
   statem entsthathave notbeen cognitively resolved.Defendanttcity'InternalAfrairsconcluded
   itsInvestigation into ThePlaintiffscomplaintstating,*M r.C(?//j??.
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   againstof/icerKetmethLewis:Not5'
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   M emorandum 9-10-18at:(BASISandFINDINGS).
   70.       Defendant'City'PoliceM ajorJesuslbalmea,CommanderofDefendanttcity'Police
   InternalA ffairspdeliberately leftThe Plaintiffscom plaintofFalse Arrest.andaPlaintifrsclaim of
   fabricated ArrestAffidavitby D efendantLew is,tunexplored'.D efendant tcity'Police
   DepartmentalPolicyrequirespromptinvestigationofsuspicionsorallegations,thus,MajorJesus
   lbalm ea leû 'unexplored'the contlicting statem ents made by The Plaintifrand Defendant'City'
   Om cersPhilippe and Lew is,and,asa resultw e see a consistence today asidentitied in 2003 by
   TheUnitedStatesDepm mentoflustice(supra!69)therebyeffkctively showing deliberate
   indit-ferenceto The ProcessthatwasDue,and,identitsed long ago.

   71. In 2006 The U nited StatesJustice Departm ent intbrm ed D ef-               endantûcity',û(r't?
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   pointsoutthatthisverysameissuepersists.Hereweseesll
                                                     ajorJesuslbalmeashowingablatant
   disregard to the thoroughness ofrrhe Plaintiffs lnvestigation stlpra atparagraph 67.Thus
   deteriorating any hopeofhimproving accountability-,thusvalidating theaction.ln 2006 The
   United StatesDepartm entofJustice wrotetoDefendanttcity',a follow-up TechnicalAssistance
   Ietterin January in w hich TheD epartm entofJustice stated thatthey,Lrecom mended //' ?tJ/IYIPD
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   a.%tz/prrtp/-v jtz/c,jz?ntakiltg credibility t;/td/e?w/j?z(7/##?.
                                                                   s'.
                                                                     ''.A tbar,The United StatesDepartm entof
   Justice,identitsed in 2006 thataccountability w ould be im proved through m ore diligentand
   thorough investigationsby supervisors.Atbar,the D efendant -city'lnternalA'ffairs interview of
   witnessesregardingThePlaintiffsbrokencellphone(!10)(!69),conductedbyDefendant
   tcity-lnvestigatorRoberto Lores,soughtonly The M ale and Fem ale as independentwitnessesn
   failing to conductinterview s ofany DTGH Security/staff,noteven once m entioning D TG H
   Security/staffinhisinvestigation(plaintiffEX-HIBIT l0'
                                                        .Inter-otlsceM emorandum 9-l0-l8).
       'Defendant-city-PoliceOtlicerPhilippesaysheremembersPlaintill-say'somethingaboutth<damagedcellphone-butmusthaveshown
       indiffereneetoThePlaintil'
                                lkProperty.
       zl-
         lereweclearlyseeDet-
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                                    ty-deliberatedisregardtoknownareaofdet-
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       respondstoa letterwritten to Defendant'City'ChiefofPoliceshowing cleardisregardto Plaintitlk Rightto Due Proeess.
       5-&sidentitiedinparagraph69.Detkndant-f.%itl'-InternalAtn irsInvestigatorscanbeinferredtohavebeenpartial.nonconsiderateot-relevant
       evidence and deficientin making credibility determinations.Plaintitnfcomplainsadditionaltraining hasbeen identified and ignored.
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   ThePlaintit'
              f complainsthatthiswasdenialofTheProcessthatwasDueaidentified by The
   United StatesDepartmentoflusticein 2006,asan areaofneeded improvement(supra).The
   Plaintiffinsiststhatthe reconzm endations thisparagraph given to D efendant Scity-by The
   United StatesDepartmentofJustice,are notminor,and indeed identify competentInternal
   AffairslnvestigativePolicing,and proved wisely compelled by Detkndanticity-Nfayorand
   Chiefof Policen 'ifheeded by Defendant tcity-,w ould lead to im proved Due Process
   (ConstitutionalPolicing)providedtoTheCommunitythatDefendanttcity-Serves.Defendant
   'City'w asrem inded again July 9,2013 in The Llnited States Departm entofJustice Findings
   Letterthat'
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                                                                                         .July9-20l3DOJ
   Letteratopening page 1).In20l3TheUnitedStatesDepaftmentofJusticeinformed Defendant
   tcity'inthissame letter:-A.
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   thatD efendant tcity'persists in the identicaldet7cienciesw ithin itsPolice D epartm entInternal
   Af-
     fairs.SupervisorofDefendantûcity'InternalAffairsSection,NfajorJesuslbalmeanasshow'
                                                                                      n
   in paragraph 67,w as indifferentto the deticienciespointed outby The A ssistant DirectorofThe
   Civilian lnvestigative Panel.This indit-
                                          ference is criticaloas itdoesn'tprocure any
   -adm inistrative oroperationalanalysis'w hich w ould identify areasofneeded supervision and
   training.H ere,The Departm entoflustice in 2013,says Defendant icity'lnternalA ffairs
   deficiencies,arealmostidenticaltothedescienciesin 2002.Atbarthere isno disparity in the
   consistency ofthisdeficiency as identified in 20l3 by The Departmentoflustice.Plaintiff intkrs
   deliberateindifferencecreating unw ritten policy ofvalidated non-complianceto Policy.

             ln response to The D epartm entofJustice fsndingsand recom m endations regarding
   Det-endant'City'PoliceDepartmentInternalAt-
                                             fairsoDefendant'City'madeadjustmentstoits
   O perating Procedures,thus,The Triers ofFactcan infer Defendant 'Cities'acknow ledgm entto
   The Findings ofThe United StatesD epartm entofJustice.
   73.      November 15, 20l3, D efendant ûcity' Police Departm ent Oftscer V incent M iller w as
   w itnessed by a citizen nam ed Richard Rosengarten tasering ûa m an'w hile w orking his off-duty
   job atPublix Supermarketindowntown Miami.OfficerVincentM illerdid notarresttthisman'
   orreportthe incidentwhich isa violation ofDefendant'City'Police DepartmentalPolicy,and a
   violation of -the man's' Constitutional Right to Due Process.Richard Rosengarten repofted the
   incident to D et-endant ûcity' of M iam i Police D epartm ent lnternal Affairs, Although O ftscer
   VincentM illerstaser log showed thathe arm ed histaserat4:19:02 pm (plaintiffEXHIBIT 14:
   Om cerVincentsz lillerTaserLog Rosengartenlz,and thetriggerwaspressed fburtimeswithin a
   minuteproducinga-dry stun'(ustasthewitnessRichardRosengartendescribedwhenhisreport

       tPlaintit'
                frejectsanyattemptbyDefendant-city-todissecttheirdeliciencyinIntemal-kl
                                                                                      -
                                                                                      llzirsInvestigationsintovcategories'.Plaintill-has
       identitiedadet-icieneyasawholewithinDefendant-C.'itl'-Polit.eDepartm entInternal--tt-fairsInvestigations.
       z'
        ThisEXIIIBIT isbeingprocuredthrough Interrogatory(FED.R.C.  -IV.P33).
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   wasgiven to Defendantèicity''Police DepartmentlnternalAtbirs),Defendant ûcity'Oëcer
   VincentM illerdenied using histaser,and wasnotheld accountableby Defendanttcity'lnternal
   Affairsforimproperly using histaser,and forviolating The ConstitutionalRightofThe Citizen
   hetased.Detkndanttcity'lnternalAffairswouldconcludethiscaseasûinfbrmationonly'-refusing
   to apply the needed discipline or corrective supenrision O tlicer M iller needed, a chain of
   supervisors signed off on this oversight in an inter-oftice m em orandum l.Supervisors show ing
   deliberate indifference to the materialevidence ofOfficer M illers -taserlog',denied The Due
   ProcessRightsofThe Citizen who w astased.D efendant'City'Police D epartm entInternalAffairs
   closed The Case despite num erous D epanm ental and Constitutional V iolations, OfN cially
   validating O ftscer Vincent M illers conduct, using the sam e deficient investigatory deticiencies
   identified by The DepartmentofJustice in 2003,2006 and 2013 suprasspecitscally investigators
   failing to pursue inconsistenciesin otlicer/witnessaccounts-leaving glaring om issionsunexplored
   (OfficerVincentXfillerstaserlogprovedheused histaser,OfticerM illerdeniedusinghistaser),
   and supervisorsshow ing deliberate indifferenceto know n areas ofdeficiency.ln 2006 The U nited
   States Departm ent oflustice identified the sam e deticiency w e see here w hen itw as stated,tI'1'e'
   recommend//)tz/theiXIPD jpy??'
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   am ong 0//7f7/- things Az///'e diligent f'                       //jtvb'/u'supervisors'. The Plaintiff
   complains thatthis evidences continued deliberate indifference to KN O NVN glaring detsciencies
   w ithin D et-endant ûcity' Police D epartm ents lnternal Affairs. Defendant tc ity' Police
   Departmental Order l.Chapter ll.6.4l.2 states, Q-           klembers L'Z//J civilian c//y?/tal't?E!s't?/ 1he
   /.
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   s.
   ./tz/e???i???f.' D efendant kcity' Police Departm ent lnternal Afrairs Sectionv did not hold O fficer
   VincentM illez-responsible forhis false statem entsto InternalAffairsz.

   74.       Defendant 'City' Police D epartm ent lnternal Affairs received another complaint
   concerningOm cerVincentM iller(OtxcerM illeridentifiedsupra!73).Thatcomplaintstemmed
   from O fficer Nliller throwing a handcuflkd Citizen to the floor,and repeatedly'threatening The
   Citizen by placing an arm ed taserto The Citizens face.The Citizen reported to D efendant 'City'
   lnternal A ffairs that this w as allw ithout provocation.Defendant icity' O fficer Vincent M iller
   denied using his taser at all.Det-  endant -c ity'Police Depaftm ent InternalAffairs lnvestigators,
   again,failed to pedbrm a proficientinvestigation and determined The CitizensComplaintwas
   ûinconclusive',though O txcerNlillerstaser log show ed O fticerNfillerdid in-factuse his taseras
   described by The Citizen.D et-endant kcity' lnternal Affairs lnvestigators- againo did not hold
   Ot-tscerM illerresponsible for lying regarding the im proper use ofhistaser,and closed the case as
   ûinconclusive',despite histaserlog show ing he indeed used histaser,thistlnding ofûinconclusive'
   was signed by m ultiple supervisors in an lnter-o flice M em orandum thus v'alidating the
   perform ance and conductofD et-endant 'City'Police O fficerV incentM illerz.

   75.    Atbar,Plaintiffcom plainsD efendantKcityeInternalAffairs restricted hisInternalA ffairs
   Complaintto hisbroken cellphone,ignoring The Plaintiffs complaintregarding hisfalse arrest,
   and allegation thatDefendantLewis'sarrestat-
                                              tsdavitwasLfullofIies'(plaintiffEXHIBIT 45:IA
   StatementofComplainantLC at(9:50- 10:l2).(l3'
                                               .15- l5:31)-and(20:29- 2l:071),(plaintiff
   EXHIBIT l0:lnter-office Xfemorandum 9-10-18).Plaintiffcomplainsthatlack ofsupervision,
   resultin violating DepartmentalPolicy (! l7).W ithoutcorrection,thisdeniesThePlaintit-            fDue
   Process,-prtkct?l'ttralJ?/t?#rtr
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         l'l-
            hisIntm--otlieeMemorandum isPlaintil'rEXHIBIT 10.2andisbeingprocuredthroughInterrogatory(FF.l).R.CI%'
                                                                                                                .P33).
         ZplaintiffbelievesthiscreatesslatterofGreatPublicConcem .
         l
         .
          -fhisEXIIIBIT isbeingprocuredthroughInterrogatorj(FED.R. CI'
                                                                     %-.P 33).
Case 1:21-cv-20635-DPG Document 1 Entered on FLSD Docket 02/16/2021 Page 35 of 46




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   protected #?/t. ?r('
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                         $,'(Carey v Piphus55 L Ed 2d 262 at(6J).The Due ProcessClauseprotects
   Plaintiffagainstpracticesand policiesthatviolate preceptsoffundamentalfairness,the standard
   query iswhetherthe challenged practice violates-t)z./?/F?#t
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   goqvrnmellt',(Twiningv.New Jersey 2llU.S.78 (l908).Atbar,PlaintiffinsistTheTriersof
   Factwillinferthatthedeticienciesidentif-       iedsupra(thisparagraph),regardinghisintem alaffairs
   investigation conducted by DefkndantQcity'Police lnternalAffairs,w as k-nowingly conducted
   w ith deliberate indifference to The PlaintiffsConstitutionalRightto Due Process.Plaintit-finsists
   DueProcessis,'implicitj??thec'tq     ??lcz
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                                             $'f?#.ènses-n(Rochin v California 342us l65).Suprawesee
   Detkndant-city'hasbeenoncontinuousnotice since2003 (supra! 67-74)ofsaid Desciencies
   within its InternalA ffairsa and stillto date,the sam e deticiencies that defy competent Policing
   Investigations, have caused patrol otxcers such as Defendants Philippe and Lew is at bar,to
   casually disregard Departm entalPolicy.and.The Constitutional Rightsof Plaintifratbar,due to
   said unwritten policy of deficient Defendant 'C ity' Police lnternal Affairs Investigations that
   validate non-com pliance to Police Departm entalPolicy,which-as atbar,has violated Plaintit-    fs
   Rightto D ue Process.

   76. Plaintit-f com plains Defendants Philippe and Lew is knew ,lnternalA ffairs Investigations
   thatvalidate actionsagainstpolicy,would validate theirillegaldetainm ent,and false arrestofThe
   Plaintiff and they were right based on The (MaterialEvidence at bar,Defendant 'City'Police
   Internal A ffaii-s denied The Plaintiff The Process that w'as Due regarding his Internal A ffairs
   Investigation by com pletely ignoring parts of The Plaintiffs complaint. -F/?i.    ? Foltrteellth
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                                                                                                          '
   Cruikshank 23 LAB'ED pg.588 at(8.1).Plaintiffclaim sa significantpal'tofhisLiberty ishis
   Rightto Due Processasguaranteed by The Fourteenth A m endm ent supra atparagraph 66.

   77. Plaintiff insists that because of D efendant lcity' deliberate indifference to supervise its
   Police Departm ents lnternal Affairs, w hile know ing The D eficiencies w ithin Internal A ffairs
   w'ould inevitably lead to violation of Plaintiff ConstitutionalR ight to Liberty and D ue Processa
   displays on its face,intentionalintliction ofemotionaldistress which is monetarily applicable
   underFloridaLaw.'Elemelttsf?/claim.forjzl/k???/jfaz?tz/infliction of i?/ptp/jo//tz/distress.1)tLr/rc?ptd
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   t
   ?/ptà/jtvltlz/distress',(Gonzalez v.U,S.23lF.Supp 2d ll99 (151).Plaintift-tirstbeing injuredby
   detainment,then arrest,sought remedy despite those injuries from Defendant Icity'Police
   DepartmentInternalAt-fairs,Unknowingly,Plaintiffwouldreceiveincreaseddistressinjurywhen
   Defendant ûcity'lnternalA ffairs ignored im podantpartshis 'internalafrairscom plaint'.Plaintiff
   com plained to D ef-
                      endant ûc ity'InternalA frairs thatPolice O fficerK enneth Lew is tklsely wrote
   statenzents in a sworn arrestaffidavitto secure a false arrestupon him (supra $.,
                                                                                   67,plaintiff
   EXHIBIT 10:Inter-officeMemorandum 9-10-18).Plaintit- fhasdeveloped alossofTheEnjoyment
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   of Life due to Defendant tcities' indit-
                                          ference to Plaintiffs Liberty and Due Process Rights.
   Plaintift-wasseverelyinjuredbyDefendantScity'abilitytototallydisregardtheMaterialEvidence
   in favorofdenying him Liberty andDueProcess.Plaintiffcomplainsthatthisisthemostegregious
   intliction ofdistressakcity'can knowinglyun-leash upon oneofitsCitizens.Plaintif-
                                                                                   fhaslosthis
   enjoymentforlifeand hasbecome wearyofpeoplebecausehehashad to tsghtforJustice,this
   fightforJusticehasplaced yetanotherlevelofdistressupon The Plaintiff The tàctis,ifPlaintiff
   did notfightforthe claim satbarosaid claim sw ould go un-noticed though very real,and m aterial.
   The obviousNlentalAnguish thatcomesfi'                    om being denied Justice (dueprocess)consistently,
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   (Bolden v.Septa21F.3d 35 at(9.l01'                   ).Qhëot(?/?/y,have (?//?Ev'cottrtst?ftz/pretr
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   78. Plaintiff-expressly identified to D efkndant ùcity'Police InternalAffairs the circum stances
   of his false arrest.D efendant Ecity'Police lnternalA ffairs totally ignored Plaintiffs com plaint.
   Plaintiff complains D efendant -city' has intentionally caused him intentional distress because
   D efendant lcity' has know n that its Police Departm ent Internal Affairs condtlcts egregiotlsly
   deficient investigations-and Plaintit-fcomplains itis clear,these deticient investigationscause
   em otionalharm to Citizens.Plaintiff seeks m onetafy dam ages in attem ptto be made w hole from
   the emotionalw ound of distressed placed upon The Plaintiff

   79      Plaintif-
                   f seeks Com pensatory D am ages from loss of norm al life/loss of tim e.Plaintiff
   spentalmostthree yearsw'riting ComplaintatBar.Plaintiffrelived daily theemotionalfacton its
   face. that, -lustice had to be fought for and not ûgiven' by document'. The United States
   Constitution providesthatitsguarantees are for allm en.H oweveratbar,Plaintiffw as denied his
   Rightto Due Processby D efendant-city'deliberately,and had to spend alm ostthree yearsw riting
   Complaintatbarmissing hischildren'sbirthdays,missing daysatwork andjobsthathecould
   have been involved with.Plaintift-had to study Law in an effortfor Justice.ltisfact,thatone
   oversightofa'proceduralrule',could placePlaintiffsComplaintatbarlam e.Itisfact,thatastatute
   oflim itation could render Plaintiffs com plaint lam e.Plaintiff wished to be com pensated fbr this
   loss of tim e- and the distress associated w'ith this -type' of Loss of Tim e.lt is proven by the
   m eticulouswriting ofCom plaintatbarthatm uch work hasbeen invested,and Plaintit-ft-inds itnot
   hard to believethatcompensationforhislossoftimeto pursueJusticewillbe fairly compensated
   by ajuryn
           'with itfully in mind ofthose who decide thatcompensation,ofthehardships The
   Plaintiffhad to endure,and the Litk and Liberty Plaintiff had to fbrtkit,for The Justice Sought at
   barthroughcompensation,oDistressj.      $'6:#er.&t>??J/illjltlyjàmiliar&ythef(r  m'
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                                                                      /it.%ç#i?c/fp?)Thef#(7#?/t#',(Carey
   v.Piphus435USaf263-4).
   80.      Plaintit-fseeks Com pensatory D am ages supra,as &the yzzvt'         l///rt7,ge,the Ie,
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   634A.2d224(ft.note5)(Pa,19934).
   8l,      TriersofFactcaninferPlaintit-fsiniuriesfrom thecircumstances'.

       lcarev v.Piphus55L Ed2d264atf81.
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   M O N ETA RY D AM A G ES.asR ELATED TO TH E C IT Y O F M G M I for:U n-o m cial
   Policv/c ustom of ilnternalA FairslnvestitationsthatvalidateviolationsofD epartm ental
   Policv and The FederalConstitutionalRiehtsofThePlaintiF (PubIie@O)'.Thisbeinm
   repuenantto Plaintils rithtto D ue Process under The U nited StatesC onstitutions'
   Fourteenth Am endm ent.PlaintiF findsreliefin 42 U.S.C.41983 ofThe United States
   Constitution..

   82. Defendant-cit3,'persists, l)Un-oftscialpattern/policy/custom (stlpra !65)thatamounts
   to widespreadopractice (Pyle v,qroods874 F.3d 1259 at(18.1),in violation ofThePlaintiffs
   Constitutional Right to Due Process w hich is protected by The Fourteenth A m endm entto The
   United StatesConstitution'
                            ,Defendant'City'persists'
                                                    .2)aproven deliberate inditlkrence totrain
   and supervise employees-including supervisors,of its Police InternalAt-fairs Section (Pyle v.
   W oods 874 F 3d l259 at(18.
                      .      ),whovalidateOt-   tscersnon-complianceto Det-endant,Ckt3,kpojice
   Departmental Policy, and Plaintiffs (Citizens) Constitutional Rights, creating Officers who
   casually disregard DepartmentalPolicy,and Plaintiffs(Citizens)ConstitutionalRights.t.
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   in.
     b'
      tallces',(lnt'lBhd v.United 43lU.S,324.336 nl6 (19774).Supraj67- 76 we see Ltypical
   conduct'ofD efendant ûcity'lnternalAffairs.Supervision alone is not %pattern/practice,custom '
   withregardto 42 U.S.C.j1983-creating here,aseparatecauseofactiontkom Defendant'City'
   failureto Supervise/Train (supra565-8l).
    83.      wFol'
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   M iami6k5O t-.supp.zd 1267 (4.51).Supra in !67 DefendantuCity,Pojice NjajorJksus Ibalmea
   signed an inter-office m em orandtlm ratif-ying the defcientlnvestigation ofhissubordinates.These
   actionsarerepeatedby Defendant'City'PolicyN'
                                              lakerssupraat!73and74.
   84. 42U.S.Codej1983svhich statesinpaf-tooL-'vel?.'pt?ri
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   JcyJr/)w//()/?'Canton v.Harris l09 S.Ct.l197-489 U.S.378.Supra at67-76 Defkndant*city-of
   M iamiwith fullawareness,hasallowed agrossnegligenceofproperoversightwith regard to it's
   Police Departm entslnternalAffairslnvestigations,thus,leading to the deprivation of-rhe
   Plaintiffs(Citizens)ConstitutionalRightto DueProcess,andLibertyl,thusinjuringThePlaintift-
   fkom lack ofcorrective action (training),and reprimand,thtlsvalidating deficiencyto Policy,
   86.       tThe Ft??/r/e'e'n//lW zl/t-
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                           &'U.S.v.Cfuikshank23LANV ED pg.588at(8,),                   'ThePlaintiffcomplains
     'xrl-hiscreatesan issueof-ch-eatPublic lm portance-.
     Vlaintil-
             fidentifiesfailureofDefenklant-cit),
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                                                --tostopknourn(since2003(N70 -76))defieienel'withinitsPoliceDepartmo
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     failstoholdOm cersresponsibleforviolationsofDepartm entalPoticy-and CitizensConstitutionalRightsîeadingtocasualdeprivationofsueh.
     l'rhe security ofonesprivacy'againstarbitrary intrusion bythepolice is implitlitin theconceptofordered liberty.and assuch entbrceableagainst
     theStatesthroughTh<DueProcessClause.(ElkinsN'
                                                 .L-S4 Led2d 1670at(2.)).Supra:1
                                                                               66.
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   thathisliberty wasillegally takentkom him by Det-
                                                   endantLewiswhen un-constitutionally
   arrestedsupraparagraphs6-9,becauseofDefendantkcitl''un-officialPolicy (supra! 82).
   87. Plaintiffcom plainsthatD efendant -c ity-hasalso allow ed itsPolice Depanm entInternal
   Affairsto violate hisRightsunderThe Foul-teenth Amendm entsEqualProtection.Seeparagraph
   99.Detkndantic ity'vin allow ing itsPolice lnternalAffairsto validate non-conform ance to
   policy,createsofficers who violated The Plaintiffs Rightto EqualProtection ofThe Law .
   Defendantts)Philippe and Lewisignored Plaintiffsrequestto repofthiscellphone arbitrarily.
   PlaintiffseekrsCompensation
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   Nvoodring634 A.2d224 tft.note5)(Pa.199311.PlaintiffcomplainsDefkndant'City'knewanon-
   correction ofknown validated non-com pliance to its Police D epartm entPolicy by itsInternal
   Affairsw'ould lead to casualdeprivation ofPlaintiffsConstitutionalRightsby itsPolice Officers.
   Supra atparagraph l5 and 17,The United States Departm entofJtlstice,w ith,Detkndant-city'
   ofNliam i,agreed to ConstittltionalPolicing Agreem ent.The Policies Agreed upon,including
   im proved supervision ot-om cers by Supervisors.Atbar,D efendant 'C ity'failure to im plem ent
   correctiveaction.hasleadtoPlaintiff-
                                      sinjuryofDueProcessviolationbyDefendanticity-
   Police Departm entlnternalAffairsw ho validate non-com pliance to Departm entalPolicy by
   Om cers.
   89. Plaintift-s seekscom pensation forthe LossofTim e ittook to w'   rite Complaintatbar.lt
   m ustbe recognized,Plaintiffisnotan attorneynand has gained ConstitutionalFederalLaw
   prudence,through continuousstudy in pursuitoflustice.Plaintit- fappealsto ThisC ourts
   prudence.in the recognition thatan oversight,ofFederalCivilCourtRules.orLaws,such as
   Florida Statute 768.28,could renderPlaintiffs PursuitforJustice lam e,lttook Plaintiffalm ost3
   yearsto writeComplaintatbar.Plaintiffoversightofany StatuteofLimitationssuch asThe
   ûfour-yearstatuteoflimitationsforjl983claimsinFlorida-'wouldrenderPlaintit-fpursuitfor
   Justice atbarlam e.Plaintit-
                              frequests This Courtsacknow ledgem elztofhis lossoftim e in writing
   Complaintatbar,thusrecognizing Plaintifflossofquality oîlife in ThisPursuitforJustice.
   Plaintift-scontinualstudyforcompetentComplaintatbarputThePlaintiffslife(liberty)onholdr
   Plaintit-fputThepromisesofTheUnited StatesConstitution tirst.The Plaintiffby tim e.study,
   writingsspellchecking,andcontintlalgriefspendamajority oftwo-yearsstudyingandw'
                                                                                 riting
   Complaintatbar.PlaintiffrequestCompensation forthe signif-     icance ofhisLossof-Timeforsaid
   PursuitofJustice.'
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                                                                               $lwp.2tI439.Plaintiff
   recognizes he isnotan attorney.Plaintit-
                                          fpoints outCoe here,in recognition that,tw o-year study
   and w riting ofa com petentcom plaintnwould yield significance m onetarily foran attorney,and
   Plaintiffseeksto be compensated forhis LossofTim e.Plaintit-  t-complainsto ThisCourtthat
   Citizenswho pursuetheirRightsasguarenteed by TheUnited StatesConstitution should be
   compensated in an attemptto bem adewhole fkom those violations.ltisnotunusualforThis
   Courtto award compensentory damagesto Plaintiffsforlossoftime.Atbar.Defendanttcity'
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   knowingly violated PlaintiffsRightsto Due Processby a colnpetentlnternalAffairs
   lnvestigation.Plaintit-
                         fhad to go through FederalCoul'tforviadication ofhis Rightsdenied by
   Defendanttcity'.Plaintiffseeksto be compensated forhis LossofTimein seeking this
   vindication.

   90.     The Suprem e Courthasheld thata civilrightsplaintiffcannotbe considered a prevailing
   partyunlesshereceives''
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   tz(A'.103.A party doesnotneed to be successfulon every claim ,''??f?r ebvn //&?/'
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   tobeaprevailingparty.LaRouchev,Kezer.20 F.3d68-71(2dCir.1994)(citingTexasState
   TeachersA ss'n v.G arland lndep.Sch.Dist..489 U .S.782.791- lO9 S.Ct.l4
                                                                         '86.l03 L.Ed.2d 866
   (l989).Successasto a''sijs
                            nlthtxlntc/zz/-'
                                           'satisfiestheprevailing paf'
                                                                      tystandard.Theparty
   seeking the award bears the burden ofproviding evidence to supportthe num berofhours worked
   and claimed rates.(Henslev 461U .S.at433).AtbarPlaintiffdid notbargain fbrthedismissalof
   arresting charges,there wasa bona-tsde term ination ofthe prosecution in The Plaintiffs favor
   w here Defendanttcity-could notproduce,and stillw illnotshow ,one piece ofbone-tide
   M aterialevidence to suggestcom petentlegalarrest,and lnternalAffairslnvestigaion of/tbr The
   Plaintiff.Defendant-city'isliabletoThePlaintifffordamagesunder42U.S.C.j1983tbrtheir
   deliberate indit-ference to ûcustom /pattern'ofknow n deficient lnternalAffairs lnvestigations-
   thatvalidate D etkndant kcity'Police officers disregard to Departm entalPolicy.and,The Rights
   ofThe Plaintiff(Citizens)atbar.Plaintiffsin FederalCourt,have prevailed by precedent.in
   recovering m onetary dam ages,fortestim ony ofthe effectsupon them selves.from the egregious
   actionsof Defendants.

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   cases.'(Bolden v.Southeastern Pennsylvania Transp,Authority-21 F.3d 29.36 (3d Cir 1994)).
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    r.S.at3l0-11).
   93.      Colnpensatory dam ages is a Section l983 case Qm a),
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   299.307(1986)).
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   STATEM ENT OF M ATERIAL ISSUES OF FACT;eausina THIS ACTION for
   M O NEARY DAM AGES.asRELATED TO W ANDLER PHILIPPE AND KENNETH
   LEW IS in their bindividualcapacittiesl'for:Usint TheAuthoritv ofTheColor ofThe
   Law .to know inzlv:Illetallv Detain.lllezallv A rrest.and.denv The PlaintiF D ue Proeess of
   Law .EqualProtection ofLaw lsand Libed v.Plaintil seeks com pensatorv and Punitive
   dam ates.
   94.       ThePlaintiffcomplainsDefendantsPhilippe and Lew isacted with illwilloand,
   intentional(supra!61)actualmalicewhenthey seized(detained)PlaintiffsPersonpriorto
   arrestinghim (plaintiffEx-l-llBl'r 50:InternalM-fairsStatementofOm cerKennethLewisat
   6:20).Defendant'City'DepartmentalOrderll.Chapterl.7states,'Anty-//cermay approach
   t'
    w t,
       /detaillt'                                           v?zltl /.y indicate thatswc/zperson has
                w.J'person ?/zlt-/er circum stances thatretz.
   committed jA'committing orisabouttocfy-zpj/Lzviolatiotlt?fcrj-j?la/161.:'.Itcanbeinferredby
   TriersofFact,thatseizing (detaining)ThePlaintiffsPerson withthe information Defendants
   PhilippeandLewishadatthetimeofdetainmentwasnot'circumstancesthatzwzxtpptzltl'
   indicate//7:,/(plaint@ hadcommittedoru'tzj'committing,orabout/Tpcommita Wfp/tz/jtv?of
   crim inalpt-
              Iw',asrequired by said D epartm entalPolicy.PlaintiffbelievesTriersofFactcan infer
   Plaintiffw as detained because he refused to leave w ithouta police reportconcerning his cellular
   phone,asdescribed in paragraph 6-9 supra.TheM aterialFactsare:ThePlaintiffwasvoluntarily
   onscenewhenDefendantsPhilippeandLewisarrived(plaintiffEx-l-llBl'r 50:InternalAffairs
   StatementofOm cerKennethLewisat4:54),Plaintiffflagged down these Defendantsupon their
   arrivaland explainedthecourseofevents(plaintiffEXHIBIT 502lnternalAffairsStatementof
   OtxcerKennethLewisat5:20),(plaintiffEX-HIBIT 52:InternalAffairsStatementofOm cerW .
   Philippe at5:07).DefendantLewisand Philippeheard ThePlaintiffstestimony ofeventspand,
   withoutincidentDefendantPhilippesaidhe'secured Jwf/t?.frt'>?pplailttlffsbag'(plaintiff
   EXHIBIT 52:at3:07),DefendantLewisstated.jvsoz?c'cllm.askedhim aboutthe/c/?#A,secured
   the/c/,t#,and l//pheu.
                        '
                        tz.
                          $'detained.'zThePlaintiffwasdetained inhandcuffs.inthebackof
   DefendantPhilippe'sPatrolCarshortlyaoerspeakingwithDTGH SecurityM ember3(supra
   !26).(supra!52)andjustpriop to DefendantsPhilippe,Lewis,andsaidDTGH Security
   M emberspeakingwithTheAllegedVictims(whohadtobelocated)whoThePlaintiffdescribed
   asThe Assailantsto DefendantsPhilippeand Lewis.Plaintiffseeksdam agesforthisdetainment.
   95. Toprevailonajl983falsearrestclaim,Ga#/tW??/j          .#'?p?fx/establish //?t7/.(1)Jti
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   intentionallyarrestedhim tprhadhim arrested;(2)r/tzj/?/j  f'u,'tzj'au'arefp
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                                'and (4)arrestw'
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   W ilk296F.supp.zd246(l.2J).Supraatparagraph9aPlaintiffexplainedthathemadefirst
   contactwith Defendanttcity'Police OfficerPhilippe and explained thecourse ofeventsas
   describedin!6-7supraawhichcorrespond withplaintiffExl-llBl'l-41:SecurityCamera
   PlaintiffsA pproach at 16:44:28 - 55.D efendantW andlerPhillipe in plaintiffEX HIB IT 52:
   lnternalAffairsStatementofOfticerW .Philippeat3:53 states,Qthefirstc'f?z//tzc'/u'  èzxhim
   (plaintifg,becausetz5'.
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   ctw/tzc/withhim (plaintim and w't?wcri?talking tokWzp (plaintim '.TheSwornArrestAffidavit
   byDefendantLewisstates,<he(ThePlaintifg plllled ?w hisshirt/fpexposethe/k      wj .
                                                                                     /'
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                                                                                      rthatheJszt,
                                                                                                 /
   in hispants.'The Plaintiffneverhad on a shirt.The Plaintiffs fishing knife w asin his bag,and
         lplaintit-fbelievesDefendantsPhilippeandLewiswilleoncededettialofPlaintilrsRightto EqualProteetionoftheIuaw as(luaranteed byThe
         UnitedStatesConsti
                          tutions14thAmendment:otherwiseadmissionvvouldbe-(lhisis)routinebehavior.(lntkaN99).
         zDefendantLewismakesthisstatementtoDefendant-city-Internalwttltti
                                                                         rs(plaintitl-EXHIBIT 50:atoraround6:20).
         3DefkndantLewisneveridentit-ied DTGH Security S'   tafl-aswitnessesormentionedthem in an1.,documentspertainingto Plaintitl-sarrest.
         4Atthismoment-basedonthereasonableinfonnation DelkndantLeuisand Philippehad-Plaintitl'tèelsheAvasillegallyhandcul-fedand
         detained.TriersofFat.
                             vtcan infer'l'ruth here.basœd on Plaintiffq eventualarrest.despite The NlaterialPhJsicalEvidence procured on the scene.
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   The Plaintiff attem pted to w alk aw ay severaltim esw hile The Fem ale pursued him trying to
   initiateanphysicalattack.Theseconflicting statementsbyThePlaintifllW itness(TheM ale),
   and Alleged Victim (TheFemale),presentaprudentcausetoexaminesurveillancevideo for
   probable cause.before m aking an arrest.PlaintiffEX H IBIT 03:ArrestAftidavitasw orn to and
   writtenbyDefendantLewisstatesnLvideo.
                                       s'
                                        ?ln'ej//tzzlce'camerafrom theIobbyclr/?/rtW the
   j??c/Jev?/'pan am rm ative statem ent.Plaintiffcom plainsthe m aterialfacts obtained from such a
   '
    video'w ould notwarranta reasonable m an to believe thatprobable cause existed to arrestThe
   Plaintifftthere-by leading ThePlaintiffto inferthathisoriginaldetainmentwasmaliciousprior
   to the arrest.To date,no,ùlobbyvideo',hasbeen procured by ThePlaintiff orDefendantûcity'.
   iTheFtyp/r///AmendmentappliestoaIlseizllresoftheperson,/??c/?/t; &lg seizuresthatjarfp/veonly
   a briqfJc/cz?//f-
                   v?shortqftraditionalarrest;w'
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   restrainshisfreedom /tywalkty ruzty,hehas''seized''thatrerxf
                                                              -v/,and TheFollrthWzpkv?lzpelzl/
   requiresthattheseizltrebereasonable'(Brown v.Texas6lL Ed2d359).Thephysicalmaterial
   video evidence D efendants Philippe and Lew isgathered afterdetaining The Plaintiff should have
   procuredThePlaintiffsrelease(supra!6),howeveritprocuredThePlaintiffsarrest,thus,
   inferring forThe TriersofFactthat,indeed,the initialdetainm entw asa productofintentional
   m isconduct,'itcan be inferred by the m aterialevidence thatThe Plaintiffs originaldetainm ent
   was secured illegally because The Plaintiffinsisted on making a reportconcerning his cellphone
   (supra! 7,9).ThesurveillancevideomentionedinDefendantLewis'sArrestAm davithasnever
   been seen.and.w as notprocured.Procurem entofevidence is required per Defendant'City'
   DepartmentalPolicePolicy(supra!l2,!22). 'Probablectzl/xt.             ztoarrestexists14'
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    l425-1435 (llthCir.l998).Plaintift-seeksmonetary damagesforthisfalse arrest.
   96. Atbar,Plaintifrsm aterialevidence show sD efendantsPhilippe and Lew is,due to lack of
   probable cause,manufactured probable cause to create a seem ingly legalarrest upon The
   Plaintiffin violation ofPlaintiffsFourth A m endm entRightto be fiee in hisperson from
   unreasonablerestraint(detainment)andarresta
                                             'bothremediedby42 U.S.C.j1983.Defendant
   'City'Police D epartm entalOrder 1-Chapter l1.6.28.lrequire D efendant 'City'patroloffcersto
   know Federal,State.M unicipalaand County LawsaaswellasLtheelemelttsthatcottstitute
   criminalactsj?lviolationofthevtzrjtz?/-
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   97.       Plaintiffcom plains.thatifyou rem ove said -lobby surveillance video'm entioned in
   DefendantLewis'ArrestAm davit(plaintiffEX-HIBIT:03),and,rem ovethe statementsmade by
   TheN'   lale,who,DefendantsPhilippeandLewrisused astheironlywitness(supra!26)-                                  .Then add
   The Plaintiffssurveillancevideo (plaintiffEXHIBIT 4l),and the statem entsprovided by The
   plaintiff(!6and7supral-you willseethatomitting said tàlseinformation,andadmitting readily
   availablefacts-would notsupportprobablecauseforDefendantts)Lewisand Philippe's
   amalgamated detainlnentand arrestofThePlaintift-.Qlil('/!r//Rightsct,                   /xtdA'invobilîg c/tW???t?/'
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   rightshasocclzrrè'f  ,/',(W einstock v:vilk296 F.Supp.zd242).AtbarPlaintiffinsists,Triersof
Case 1:21-cv-20635-DPG Document 1 Entered on FLSD Docket 02/16/2021 Page 42 of 46




   Factwillinfer no reasonable probable cause to detain Plaintiffsand certainly no reasonable
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   probable cause to arrestPlaintiff 'f??t;   l-%eJrrt
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    (FLA 1976).'Ilnder Nlc/''           f??/r//?Amenzlment,/Wt?stalldard/i#'tu'l-e,Yt/A'probablef2??/5'                E?.dqhlîezl
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                                                                          ?',(Gersteinv Puoh 43L Ed2d57'            ).
   99      ClassofoneEqualProtectionClaim recognized wherePlaintiffhasbeen intentionally
   treated diffkrently from otherssimilarly situated and thatthere isno rationalbasisforthe
   dift-erence in treatm ent,here,The EqualProtection Clause purposesto secure every person
   againstintentionaland arbitrarydiscrimination,(Villagev.Olech l45L Ed 2d l06l(ta.1b)).
   Defendantts)Philippe.andLewisintentionallydemandedPlaintiff-withdraw hisgrievance
   concerning hiscellphoneinexchange fbrhisLiberty to betkee ofdetainmentand arrest,wereas
   otherssimilarlysituated shotlldretainthatRightwithoutfearofarrest(supra!9).Plaintit-
                                                                                      f
   complainsthatitwasirrational,capriciotlsand despoticforDefendant-city'PoliceOt-tscersto
   insistPlaintiff-withdraw his complaintconcerning hiscellular phone in exchange fbrhis
   continuedfreedom.Lplt'   tilttfffctzpallegec/??ft't??/tz/#rt)/t2c//t???violatiœl/7.yasserting //?Tz/v    b'tate
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                           v,'(Esm ailv.M acrane 53 F.3d 180.
                                                            'Villauev.Olech I45 L Ed 2d l0631.
   Here DefendantsPhilippeandLewisused The Authority of-rheColorofLawagivento them by
   TheState,to depriveThePlaintifftclassofone)ofEqualProtection.ThepurposeofTheEqual
   Protection Clause ofThe Fourteenth Am endm ent is to secure every person w ithin State
   Jurisdiction against irrationaland arbitrary discrim ination w hetheroccasioned by a Statute orby
   itsimproperexecution through duly constituted agents,(Villaoe v.Olech l45L Ed 2d 1063).
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   48O(4J).Plaintifrseekscompensatoryandpunitivedamagesfortheseviolations.(see!29).
   100. Plaintit-      f com plainsD efendantPhilippe and Lew is -know ingly'ntm aliciously'and
   -intentionally'denied The PlaintiffThe Process thatw as Due in violation ofThe Due Process
   Clause ofThe United StatesConstitution's 14th Am endm ent LThe f':??/r/t?ez?//?A meltdm ellt
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   23 LAW ED pg.588 at(8.1*         ,The PlaintiffcomplainsthathisLiberty wasillegally taken from
   him byDefendantts)Lewisand Philippewhenun-constitutionally arrested,supraparagraphs6-
   9.Defendant'City'Ofl-   icersLewisand Philippeusing TheAuthority ofthe Colorofl-aw to
   -
     knowingly'illegally deny ThePlaintift-DueProcessandLiberty asguaranteed by TheUnited
   StatesConstitutionsAmendmentXIV (141.PlaintifrcomplainsthatitisadenialofhisLibertyto
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                                                $'esselttialn,(Nleyerv.Nebraska262 U.S390),
   (suchasfreedom from unlavvtùlodetainment,arrest,anddenialofreasonableengagement,
   concerning Plaintiffs com plaintto D ef-
                                          endants Philippe and Lewis regarding his cellphone,

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   F.Stlpp2d ll40 (21).TheNlaterialEvidenceavailableto Defendantts)Philippeand Lewis,
   would nothave provided any probablecause to al-restPlaintiff.Said Defendantsmaliciously used
   The Atlthority ofthe Color ofState Law to illegally detain,arrest,and deny The PlaintiffD ue
   Processand EqualProtection ofl-aw.PlaintiffseeksdamagesforthislntentionalInfliction of
   EmotionalD istress.Plaintit-finsiststhat,said Defendants knew,thatillegally detaining,arrestinga
   and denying -Due'processes.w ould cause obvious intliction ofem otionalharm .

   102. AtbarPlaintiff-rejectsanyattemptbyDefkndantsPhilippeandLewisinvokeLarguable
   probable cause'or ûqualitied im m unity-,because The Standard for targuable probable cause-
   defeats Det-
              endantsattem pts forprotection thereofbecause,atbar,an Oftscer could nothave
   tbund probablecauseto detain ormake an arrestataIl(thereby notbeing arguable)and,thereby
   defeating reception ofûqualitsed im m unity-becatlse ofthe m alicious,arbitrao'and intentional
   circum stancesthatcan be inferred from The M aterialFacts atBar.

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         '//>??J/distress',(Gonzalezv.U.S.231F.supp2d 1l99(15J).PlaintiffseeksCompensatory
   D aluagesfrom D efkndantsPhilippe and Lew is forThe Intentionallntliction ofEm otional
   Distresscaused by their intentionalillegaldetainm ent,arrest,denialofl-iberty,denialofD ue
   Process,and denialofPlaintiffs Rightto EqualProtection ofLaw .Plaintiffinsists Defendants
   knew thatdenialofthese Rightsw ould lead to Severe Em otionalD istress w ithin The Plaintif-f.
   The m aterialfacts are thatThe Plaintit-fcalled and w aited for(
                                                                  H iam iLaw Enforcem entto an-ive
   so he could m ake a police reportconcerning his broken cellphone,and-washandcuffed and
   detainedbecausePlaintit-fwouldnotjustleave'(supra!7.9).Plaintiffinjury of'loss'ofLiberty
   from thisinitialdetainment(endof!9),intlicted substantialinitialinjuryuponThePlaintiffs
   person.Atthe momentofPlaintif-
                                fsinitialdetainm ent,DefendantsPhilippeand Lewisresponded
   toPlaintif-
             fbyusing TheTotalityof-rheNlaterialFactstoillegally detainhim,unjustly'denying
   ThePlaintiffofhisLibertycausingemotionalinjury.PlaintiffinsiststhatDet-endantsknew that
   handcuffng and putting Plaintit-
                                  f in patrolcarbecause he w anted to m ake a reportconcerning his
   cellphone,vvould causesevereemotionalinjury,'tlistlvssis:/persolulljz#?/cJ.        ',
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   (m /7?t?plainqjf'.(Careyv.Piphus435US at263-264).Plaintiffinsiststhatthiscaptivityofthe
   -initialdetainm ent',cannotbe said to be tnon'intentionalintliction ofem otionaldistressby
   DefendantsPhilippe and Lewis,becauseTheNfaterialEvidence showsa maliciousfklsearrest
   follow ed after,thisdetainm entnwhich infers this initialdetainm ent,to be m aliciousand
   tintentionally'm alicious,Itis obvious,thatusing The A uthority ofThe Law -to illegally capture
   aperson(detain),becausetheyinsistonreportingacrime-causessevereemotionaldistress.The
   Emotionallnjuryofbeingignorednillegallycaptured (detained),chained (handcuffed),and
   em barrassed by those sw orn to tlphold The Law sofDue Process,and Liberty,are ripe forthe
   compensation.Plaintiffplacesgreatvalue on allaspectsofhis Liberty-and The Prom ises ofDue
   Process and The Fourth and Fourteenth Am endm entsto The United StatesConstitution,                   'This
   denialof such,hasplaced em otionaldistress upon Plaintiff Plaintiffdoes not wantanyone to
   devalue hiss' IentalAvvarenessofThe V alue ofbeing D enied said Riglzts.*111the cpcxnt        -       fthe/tnI'
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   27O F.supp 307).
   104. Plaintiffwasseverely damaged when hewasgiventhe option to avoid arrest,by giving
   up hisRightsto DueProcessand EqualProtectiolzofthe Law by notreporting hiscellularphone
   damagedbyTheM ale.Plaintit'
                             rdoesnottkelany descriptionofthisdistressinjurycanbe
   properly described fortheempathy needed to understand the severity ofThe Plaintiffsdistress
   w hich has continued since the inception ofplaintiffsarbitrary detainm ent,arrest,denialofEqual
   Protection,anddenialofDueProcess.Plaintifrarbitrarilylosthisfreedom tliberty).Plaintiffhas
   Iostasignificantpal4ofhisQuality ofLifebecauseDet-endantsLewisandPhilippehaveinjured
   Plaintif-
           fsbeliefintheguaranteeofLiberty.Suchharm Qcan bej?l
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                       /?eW by //0e testimoqb''.(Seaton v,Skv 49lF.2d 634).Plaintiffhaslosta
   signit-icantamountofhisQuality oft-ife,becatlse Plaintiffdoesnotfeelcomfortable in ûthe
   world'know ing that Det-endant -city'and those oftheir kind-can atw ill,deny C itizens Liberty,
   and the price forredem ption.is em otionally distressing asw ould be inferred from the
   circum stances.

   PlaintiffseeksCompensation.
    I05. Compensation forlnjuryresulting from Plaintit-fsLossof-l-ime.Plaintit-fispro selitigate.
   lthastaken Plaintiffalm ost3 yearsto research and w'rite com plaintatbar.A s a resultof
   PlaintiffsConstitutionalRightsbeing violated by D efendants Philippe and Lew is,Plaintiffhas
   hadtoenduresignificantemotionalinjurycaused bythesignificantlossoftime,reliving-
   studying and writing Com plaintatbar,daily.Plaintifractually losttim e w ith his fam ily and
   loved ones,losttim e from seeking em ploym entslosttim e w ith enzploym ent,and a11w ithout
   choice because thisis the costin The U nited Statesof Am erica forvindication ofConstitutional
   Rights-
         'and forthis,Plaintiffseekscom pensation.Forthisreliving ofpainfulevents.and
   extensivestudy in ConstitutionalLaw,Plaintiffseekscompensation tbrlossoftime.

   106. lntentionally lnflicting ofEmotionalDistresscan beinferred atbarbecause,The
   M aterialEvidencedoesnotsupportTheArrest.DefendantsPhilippeand LewiscannotofferThis
   '
   Courtany M aterialEvidence to supporttheirdetainm entorarrestofThe Plaintiffathereby
   negating any reasonable probability'thatprobable cause existed.W 'ith no probable causeoTriers
   ofFactcan infer-DefendantsPhilippeand Lewisintentionally denied PlaintiffsConstitutional
   Rights,and intentionally defied Det-endant tcity'Police Departm entalPolicy,   'forthis,Plaintiffs
   are sued intheirlndividualCapacity,and PlaintiffseeksCompensatory and PtlnitiveDamages.
   Plaintiffinsists,itis obvious thatarbitrarily,and,m aliciously arresting an innocenlPlaintiffis
   recognized by civilized professionalssuch asDefkndantsPhilippe and Lewisto cause severe
   emotionaldistress(such asak-idnapping would causedistress),and,thatmanipulating evidence
   toeft-
        ectuateanarrestwouldmakethedistressinjuryintentional,asseensupra!61.Atbar
   Plaintiffdisplayed hisdeterm ination,and faith in TheJusticeofAmericanLaw Entbrcementby
   svaitingto makearepoftconcerning hiscellularphone.Plaintiffseverely emotionallyinjured
   whendespitehisfaithinjustice.anddeterminationtoholdTheM aleresponsiblenhewas
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   intentionally detained and arrested despite the m aterialevidence.Plaintit-
                                                                             f feels The Triers of
   Factcaninfertheseverityofthisinjurywbasetltr
                                              pz?testimolly'n(Seatonv.Sky49lF.2d634-636),
    107. PlaintiffseekspunitivedamagesforSection l983injuriesatbar,(Smithv.Wàde46l
   LJ.S.30).<x4plctinttf.f/5'entitledto/.???'         ??//jvt?danutges/    ./'//?(?.
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   Det- endantsPhilippe and Lew is ïhow tactive consciousness'to m alicioussreckless,callously
   indit-ferent,arbitrary behaviorthatcaused Plaintiffsdenialofhis Federally Protected Rightsto
   Liberty,D ue Process,and EqualProtection ofthe Law underThe Fourteenth Am endm ent,and,
   et-fectuated the illegaldetainm entand arrestofhis person,in violation ofThe Fourth
   A m endm entto The United StatesConstitution

   108. Plaintiffs 'police record'to date,though expressed as 'dism issed',show stàlse arrest
   record of taggravated assaultw ith a deadly sveapon'because ofD et-endantsPhilippe and Lewis.
   Thiscreatescontinued injuryofdefamationandhumiliationuponThePlaintift-,omoreover,
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   221).Defendantscanpresenttno'materialevidencetosupportthedetentionandarrestatbarof
   The Plaintiff.


          W HEREFORE ThePlaintiffseeksan ORDER awardingdamagespinjunctive,and
   flm herReliefasThisCourtdeemsnecessary,justandproper,forTheClaimsidentifiedherein,
   and supportedthereotlwithPlaintiffEXHIBTSwhichareattached.
   JU R Y DEM AN D
   PLM NTIFF SEEK S JU RY TR IM ,.


                                                    By:
                                                    Lam ontCollins
                                                    l545 N W 7th Ave
                                                    M iam i,Florida 33136
                                                    Deshauzn collil
                                                             -      as@ qrahoo.conl

   N O TICE O F SERV ICE :
   1hereby certify thatatrue exactcopy hereotlwillbe served upon thos identified in The
   Attached Service List.

                                                    LamontCo11ns

   SER VIC E LIST :

          CityofM iami(e-sel'veat:lawr
                                     zmiamioov.com)
          W andlerPhilippeand Kenneth Lewis
          400 N W Second A venue
          M iam i,M iam i-D ade County
          Florida,33128
          (305)603-6640
          DoubletreeGrandHotel(DTGH)
          1717 N ol'th Bayshore D rive
          M iam i,M im ai-D ade County
          Florida,33132
          (305)372-0313
